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             CERTIFICATB AS ‫י‬ro PARTIBS, RULINGS, AND RBLATED CASY‫ר‬
            ‫ג‬.   rarties 1‫ס‬4 ici‫גנם‬
            We believe that all parties, intervenors, and amici
      appearing below have been listed in the Brief of Plaintiffs-
      Appellants.    We note that the Anti-Defamation League of B'nai
      B'rith has indicated by letter that it intends to file an amicus
      brief in this Court.
            B.   Ruli‫ם‬gs ‫ס‬nder   Review
            Reference to the ruling below appears at page 2 of the Brief
      of Plaintiffs-Appellants.
            c.   Related cases
            This case was previously before this Court ‫ סח‬a request for
      an emergency s~ay pending appeal, which was denied ‫ סח‬December 4,
      1987 by Judges Starr and Buckley.       We are not aware of a‫ת‬y
      related cases pending in ~his or· any oth~r court.
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                                       IN THE UNITED STATES COURT OF APPEALS
                                        FOR THE DIS~RICT OF COLUMBIA CIRCUIT


                                                                    No. 87-5398


                                       PALESTINE INFORMATION OFFICE,                                        E‫ב‬: l‫נ‬:1-,

                                                                                  Plaintiffs-Appella nts,
                                                                            v.
                             GEORGE P. SHULTZ, Secretary of State, Er A]j.,
                                                                                  Defendants-Appelle es.


                             ‫סא‬      APPEAL FROM THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF COLUMBIA

                                                          BRIEF FOR THE APPELLEES

                                                              QUESTIONS PRESENTED

                        1.    Whether the Secretary of State properly designated as a
               foreign mission of ~he Palestine· Liberation ‫ס‬rganization an
               office that is largely funded by the PLO, has direct contact with
               that organization, and performs its activities on behalf of that .
               organization.
                        2.    Whether the First Amendment prohibits the Executive
               from barring an American citizen from op~rating a mission for a
               foreign political entity, when that citizen is left free to
               express his ideas on his own behalf.
                        3.    Whether the Executive violated due process requirements
               by defining an organization as a foreign mission without a
               hearing, when the facts gleaned from the organization's own
                   admissions sh‫ס‬w that i t is indeed a foreign missiori.
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              4.   Whether plaintiffs can challenge a statute as
       unconstitutionally vague when plaintiffs' status itself plainly
       falls within the wording of the statute.
                                      STATUTB INVOLVED

              The relevant portions of the Foreign Missions Act (22 u.s.c.
       4301   n ~-) are reprinted in an addendum to this brief.
                                 STATEMENT OP TRB CASB

              A.   Nature t‫ ס‬The Proceeding
              This case involves a challenge to an order issued by the
       Department of State to the Palestine Information Office
       (hereafter •the PIO‫)י‬     ‫סח‬   September 15, 1987 to cease operations.
       Until that time, the PIO had operated ar, (‫נ‬ffice in Washington,
       ‫ס‬.c.   as an agent of the Palestine Liberation Organization
                                             J
       (hereafter: "the PLO‫)י‬.        The order to cease operations was issued
       purs~ant to Article II of the Constitution and the Foreign
       Missions Act (hereafter •the Act•).
              ?laintiffs are t~e PIO and its director, Hasan Abdel Rahman.
       They filed this action in United States District Court against
       the Secretary of State and t~o of his subordinates, attacking the
       State Department order as unauthorized under the Act, and in
       violation of their First Amendment and Due Process Clause rights.
       The district court granted ju~gment to the Government based on
       the facts set out in plaintiffs' papers, and plaintiffs are now
       appealing that ord~r.




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                    B.     state‫םז‬e‫ם‬tot Th• ‫ז‬aots
                    1.     The statutory sch•m•
                    The relevant statutory scheme is set out in the Foreign
              Missions Act.                  22 u.s.c. 4301 .§.t §.§SI•                                    In that statute, Congress
              declared the operation of foreign missions in this country to be
              a proper subject for statutory- b~sed federal requlation .                                                                        22

              U.S.C. 430l{a).
                    The statute defines as a •foreign mission,• among other
              bodies, any •entity in the United St~tes which is involved in the
              diplomati c, consular, or other activitie s of,                                                                   r‫מ‬   which is
              substanti ally owned or effective ly controlle d by * * * an
              organizat ion * * * represent ing a territory or a political entity
              which has been granted diplomati c or other official privilege s
              and immunitie s under the laws of the United States or which
              engages in some aspect f‫ ס‬the conduct of the internatic nal
              affairs of such territory or political entity * * •.•                                                                         22 u.s.c.

               4302 (a) (4).
                     Admir.istr a~ion of the Foreign Missions Act is assigned to
               the Secr·etary of State (hereafte r •the Secretary •) and
               determina tions of the meaning and applicabi lity of terms
               contained in the statute (such as •foreign mission•) are
               committed to his discreti‫ס‬n.                                 22 u.s.c. 4302(b).                                        The Act also

               explicitly states that, unless otherwise provided, determina tions
               required under the Act are commi ·cted to the Secretary ' s
               discretion .               22 u.s.c. 4308(g).
                     If an entity is defined as a foreign mission, the Secretary
               may, in order •to protect the interests of the United States,•
               require that mission to seek to obtain any and all •benefits •
                                                                                   3




                          tc ,.. :f   ;   :zs _             ‫ ו‬-•      ...          ‫ג‬t \,LL
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     through the Office of Foreign Missions, which is part of the
     State Departmen t.        22 u.s.c. 4304(b).     •senefits • is broadly
     defined to include virtually everythin g needed to operate an
     office, including real estate.         22 u.s.c. 4302(a) (1).    The
     Secr‫ו‬tary     can require· a foreign mission to divest itself of any
     real property when •necessar y to protect the interests of the
     United States.•         22 u.s.c. 4305(b).     Thus, a foreign mission can
     operate under the statute only at the sufferanc e of the
     Secretary .
           2.      ~     Palestine Information Qffice a‫ת‬d the PLQ
           Plaintiff- appellant PIO is a registered agent of the PLO
     under the Forei~n Agents Registrat ion Act (22 u.s.c. 611 ~
     ~-), as is its director, plaintiff- appellan t Hasan Rahman.
     App. 30-40, 75.         Until last month, the PIO was located in
     Washingto n, D.C., and had been operating there since 1978.            App.
     22.   It had, other than Director Rahman, eight full or part-t‫נ‬.me
     employees , an~ all of its employees were either U‫ח‬ited States
     citizens (Director Rahman is a naturalize d citizen) or legal
     permanent resident aliens.        App. ~2.
           The PIO's annual budget in 1987 was approxima tely $350,000.
     Rahman's salary was paid by an organizat ion called the League of
     Arab States (of which the PLO is a member), while the self-
     described RFinance Departmen t• of·the PLO -- the Palestine
     National Fund -- paid the remainder of the PIO's expenses.             App.
     75-76.     PIO funds, apparentl y provided by the PLO, were used to
     purchase cars and a house for Director Rahman.           App. 76.
           Director Rahman has direct contact with the PLO, and the PIO
     regularly engaged in informatio nal and advocacy activitie s in the
                                           4




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             United State s on that orqan izatio n's behal f.    App. 76~     The PLO
             is the only foreig n princ ipal served by the PIO, and the PIO
             enqage d in no activ ity that benef itted other foreig n princ ipals.
             App. 35.

                  .‫נ‬      Th   Desiq‫ם‬atio‫ם‬   ot the PIO as a Foreiq‫א ם‬issio‫ם‬
                          and th• Qrder to 9•••• operatio‫•ס‬
                  ‫ח‬O    Septem ber 15, 1987, the 'State Depar tment Office of
1 ‫י‬
!           Foreiq n Missio ns sent the PIO a lette r from its Direc tor, James
            Nolan , Jr., enclo sinq a notice desiq natinq the PIO as a foreig n
            missio n of the PLO under the Foreiq n Missio ns Act.       The
            desig nation was execu ted by Deputy Secre tary of State John
            White head, and was based ‫ סח‬sever al determ inatio ns.      He found
            that: (1) the PIO was an entity •subs tantia lly owned and/o r
            effec tively contr olled by the PLO‫י‬: (2) the PIO enqag ed in °othe r
            activ ities 6 within the meanin q of the Act (22 u.s.c . 4302(a ) (4))
            bec~u se it engaq es ‫ת‬i politi cal activ ity and polit ical propag anda
            on behal f of the PLO: (3) the PIO condu cted its functi ons on
            behal f of the PLO, which is an organ izatio n that has receiv ed
            privil eges and immun ities under Ameri can law by virtue of its
            status as an obser ver to the United Natio‫ז‬:s: and (4) the PLO
            engag es in Rsome aspec t of the condu ct of intern ation al affair s"
            as eviden ced by its membe rship in the Leagu e of Arab States and
            its status at the United Natio ns.        App. 16.
                 At the same time, peputy Secre tary White head issued an order
           pursu ant to both the Execu tive's qener al foreig n affair s power
           and speci fic autho rity to receiv e ambas sadors under Artic le II of
           the const itutio n, and the Secre tary's autho rity under the Act.
           App. 17.      That order stated that ‫י‬it is reason ably neces sary to

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      prote ct the inter ests of the Unite d State s to requi re that
                                                                         the
      Pales tine Infor matio n Offic e cease opera tion as a missi on
      repre senti ng the Pales tinc Liber ation Orga nizat ion.•    App. 17.
           The Depu ty Secre tary expla ined that this actio n was being
      taken becau se of •u.s. conce rn over terro rism co‫םו‬mitted and
      suppo rted by indiv idual s and organ izatio ns affil iated with
                                                                         the
     PLO, and as an expre ssion of our over all polic y conde mning
     terro rism .•   App. 17.
           More parti cular ly, the Deput y Secre tary noted that the PLO
     recen tly had retai ned on its Exec utive Comm ittee Abu Al-Ab bas
     desp ite the fact that this indiv idual was impli cated in the
     murd er of .an Am~r ican citiz en durin g the Achi lle Lauro hijac
                                                                            king.
     App. 17.    In addit ion, at the recen t Pales tine Natio nal Cong ress,
     other terro rist group s w~re reuni ted with the PLO.       App. 17.
     Depu ty Secre tary White head expla ined that •[t]e rrori sm by this
     mino rity of Pales tinia ns and their supp orter s has been a serio
                                                                              us
     obsta cle to the reali zatio n of a peace ful settle ment of the
                                                                            Arab-
     I~rae li conf lict, and an accom moda tion betwe en Israe lis and
     Pale stini ans.•   App. 17.
          The cover ing lette r from Direc tor Nolan to the PIO
     emph asized that nothi ng in the State Depa rtmen t's actio ns with
     respe ct to the PIO •dero gates from the cons tituti onall y prote
                                                                             cted·
     right s of u.s. citiz ens and perma nent resid ents who are now
    assoc iated with the Pales tine Infor matio n Offic e.•     App. 77. 1


          1 This cover lette r was attac hed to the origi nal comp laint
    filed here, but was inexp licab ly not attac hed ‫ס‬t the  Amended
    comp laint, and only the latte r is.re print ed in the Joint
    Appe ndix. Cons equen tly, altho ugh this lette r is in the distr
    court recor d and the relev ant part of it is quote d in the Joint ict
                                                         (cont inued ••• )
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                ‫סח‬   Octo ber 13, 1987 , the Stat e Depa rtmen t gran ted an
         exten sion of the PIO clos ing date unti l Dece‫םו‬ber 1,
                                                                       1987 .    App.
         78.
               4.      This Litiq ation and the pist rict cour t's Rul1nq
               ‫ סח‬Nove‫םו‬1‫כ‬er   13, 1987 , the PIO and Dire ctor Rahm an.fi led this
        actio n.     They conte nded that the Fore iqn Miss ions Act does not
        auth orize desiq natio n of the PIO as a forei qn miss ion,
                                                                          and that
        the Act as appl ied viol ates thei r Firs t Amendment spee
                                                                         ch and
        asso ciati on riqh ts, and thei r Fifth Amendment due proc
                                                                   ess riqh ts.
        App. 13.      They souq ht an injun ction aqai nst the clos inq of the
        PIO unde r the Fore iqn_ Miss ions Act or base d ‫ סח‬the
                                                                     PIO' s
        •adv ocac y of unpo pular poli tica l idea s.•    App. 14.
             Afte r pl.= tinti ffs souq ht a preli mina ry ~.nju nctio ri, the
                                                                               case
        was tran sferr ed from Judq e Spor kin to Judq e Rich ey. 2
                                                                          n‫ ס‬Dece mber
        2, 1987 , the latte r qran ted judqm ent to the Gove rnme
                                                                  nt base d          on
        the undi spute d facts addu ced by the part ies, and he
                                                                dism issed the
        com~ laint . App. 105, 115.
               The dist rict cour t firs t noted that beca use this matt
                                                                                er
        invo lves forei qn affa irs, the cour t was conc erned sole
                                                                    ly with
       whet her the Secr etary 's exer cise of his disc retio n
                                                                     was prop er,
       and not the subs tance of the Secr etary 1 s deci sion .
                                                                App. 105- 06,
       108- 09. Next , the cour t held that the Secr etary had
                                                                 pr‫מ‬perly


             1( ••• conti nued )
       Appe ndix, it is not repr inted in full in the Appe ndix.
       there fore repr inted in an Addendum to this brie f.               It is

              2 The tran sfer occu rred at plai ntif fs' requ est afte r
       Secr etary Whit ehead expl ained that , in maki n~                Depu ty
       1~87 dete rmin ation s, he had •reli ed upon all    the  Septe‫םו‬ber 15,
       a\'ai lable to me as Depu ty Secr etary of Stat e, the  inforn‫ו‬ation
                                                           inclu dinq
       clas sifie d infor mati on.• App. 74.

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                   r‫~~~"ד‬           ~--‫ז‬-.------~ --·---
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                             design ated the PIO as a foreig n missio n.                                         The PIO was found to
                             fit within the plain meanin g of the statut ory term 6 entity , 6 and
                             to have condu cted •othe r activ ities• on behal f of the PLO. App.
                            106-08 .                          The court avoide d the questi on wheth er the PIO is owned
                            or contr olled by the PLO becau se it found it suffic ient for
                            statut ory purpo ses that the PIO engag es in •othe r activ ities" on
                           behal f of the PLO.                                           App. 108.
                                Havin g found the PIO to be a foreig n missio n, the distr ict
                           court then reject ed plain tiffs' const itutio nal claim s. App. 110.
                           The court found compe lling the fact that neith er Rahman nor the
                           PIO were preve nted from speak ing or dissem inatin g their messa ge;
                           rathe r they were simply prohi bited from doing so as a missio n of
                           the PLO.                             App. 110.                 ~he narrow scope of the State Depar tment
                           order was found to help it overco me any possi ble First A‫נ‬nendment
                           rights plain tiffs held.                                           App. 110-1 2.
                                The distr ict court also conclu ded that, as a missio n of a
                           foreig n entity , the PIO has no const itutio nal due proce ss rights .
                          App. 112.                                It furthe r ruled that Rahma n's indivi dual rights had
                          not been viola ted becau se he is free to espou se his perso nal
                          polit ical views .                                           App. 113.   Moreo ver, the court held that there
                          is no due proce ss right to be emplo yed by a foreig n entity .                                          App.
                          113.              And, Rahman had failed to show how any proce dural
                                                                                                                    ‫"ו‬
                          safegu ards would benef it him.                                            App. 113.




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‫ סד‬r:.‫;ד פ‬   ,@   1‫;ק‬c‫ י‬c{8( ,‫ ע‬c:; ;‫=ז‬   w‫ןכנ‬   w .... - 1,_,‫ן‬-:‫ו‬-, t!"‫ נ •י‬c   ‫ז‬   •-----.--~·-~~~-
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                                          The distr ict court conclu ded by statin q that plain tiffs'
                       variou s claim s were •utter ly merit less.*                        App. 113-1 4.3
                       Plain tiffs appea led the judqm ent aqain st them.
                                          After the distr ict court denied an emerg ency injunc tion
                      pendin g appea l (App. 118), this Court too denied such ‫ת‬a
                      injun ction ‫ סח‬Decem ber 4, 1987.                           The Court held that plain tiffs
                      had failed to make the •extra ordin arily strong showin q (neede d]
                      to succee d• in a reque st for an injunc tion aqain st the Secre tary
                      in matte rs of foreig n affair s.                        The Court conclu ded:     •As we read
                      the Depar tment of State 's order , the First Amendment activ ities
                      of indivi duals in the United States are in no wise infrin ged.•
                           It is our under standi ng, that, as of Decem ber 5, 1988, the
                      PIO has ceased opera tions.
                                      s.               Th• A‫ת‬ti-Terrorisa Act ot 1987
                                      After the distr ict court ruled in this case, Congr ess

                      enacte d the Anti-T errori sm Act of 1987. 4                         In that statu te,
                      Congr ess found,                       inter A.1..iA, that (Sec. 1002; Hl131 9):
                                      (a)              the PLO was direc tly respo nsible for the murde r of an
                      Ameri can citize n during the Achil le Lauro hijack ing, and that a
                      member of the PLO's Exscu tive Comm ittee had been indict ed here
                      for that murde r;

                           3 The distr ict court subse quent ly amend ed its opinio n to
                      make clear that Direc tor Rahma n's rights were not violat ed
                      becau se he was left free to expre ss his ideas •prov ided he
                      compl ies with all releva nt u.s. laws.• App. 116.
                            4 That statu te appea rs as Tille X of the Foreig n Relati
                      Autho rizatio n Act of 1988-8 9 (H.R. 1777) . Printe d copie s ofons
                                                                                        the
                      statu te do not yet appea r to be availa ble. The statu te is
                      reprin ted in the Congr ession al Record of Decem ber 14, 1987, at
                      81131 9-20, and we ·have cited to that docum ent.

                                                                              9




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"""'                                                             4   -   •
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            (b)   the head of the PLO has been implic ated in the murder
      of an Americ an a‫םנ‬bassador;
            (c)   the PLO and its consti tuent qroups have taken credit
      for, and been implic ated in, the murder s of dozens of Americ an
      citizen s; and
            (d)   the PLO covena nt states that •armed struqq le" is part
      of the orqani zation 's •overa ll strateg y• and not just a •tactic al
     phase, • and that the orqani zation recent ly rededi cated itself to
     a policy of . ‫י‬struggle in all its armed forms. •
           Congre ss accord ingly conclud ed that the PLO and its
     affilia tes consti tute a terror ist orqani zation and a threat to
     the intere sts of the United States , and should not enjoy the
     benefi ts of operat ing in the United States .      Sec. 1002(b );
     H11320 .
           As a result of these determ ination s, Congre ss made it
     unlawf ul, if the purpos e is to furthe r the intere st~ of the PLO
     or its agents , to receiv e anythir ig of value (excep t inform ational
     materi al) from the PLO, to expe‫~ז‬d funds receive d from the PLO, or
     to mainta in an office in the United States at the behest or
     directi on of the PLO, or with funds provid ed by the PLO.         Sec.
     1003; H11320 .    The Attorn ey Genera l is directe d to take the steps
     nec‫ב‬essary   to effectu ate this statute , and federa l distri ct courts
     are empowered to grant injunc tive or other necess ary relief , at
     the reques t of the Attorn ey Genera l, in ord~r to enforc e it.
     Sec. 1004; H11320.
           The Anti-T erroris m Act is not effecti ve until March 21,
     1988, and its provis ions lapse if the Presid ent subseq uently


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       ‫ס‬ertifies   that the tLO no lonqer practice s or support s terr‫מ‬rism.
       Sec. 1005; Hll320.
                       INTRODUC'l'ION AND SUMHARY 01' AROUKEN'l'
           • A.    Our case here is premised ‫ סח‬two basic points, and the
      second flows from the first.       The initial one is that the State
      Departm ent acted well within its foreiqn affairs authori ty in
      determin inq that the PIO operated in the United States as a
      mission of the PLO.
            ‫ס‬ur   second point is that this proper determi nation provides
      the answer to plainti ffs' various constitu tional arqumen ts
      attackin g the ExP.cuti ve Branch decision to close the PIO because
      foreign entities such as the PLO have no right to operate in the
      United States in any form whatso& ver, except as the politica l
      branche s of the Federal Governm ent allow.      Any arqumen t to the
      contrary asks this Court to adopt the revoluti onary princip le
      that foreign entitite s can maintain offices here over the
      oppositi on of the politica l branche s of our Governm ent as lonq as
      they pay United States citizens or permane nt residen t aliens to
      be their represe ntatives .
            Plainti ffs' arqumen ts about First Amendment and Due -Process
      Clause rights are flawed because they fail to acknowl edge that
      they depend upon this startlin q concept .      Moreove r, as this Court
      recoqniz ed when-it denied the request for an injuncti on pendinq
      appeal, plainti ffs' First Amendment riqhts have been left
      untouch ed: plainti ffs have been barred only from operatin g as a
      mission of the PLO, a foreiqn entity identifi ed by Congres s as a
      terrori st group respons ible for murderin q America n citizens , and
      not officia lly recogniz ed by our. Governm ent.
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                           B.       In our arqu‫נ‬nent, we initially point out that the
               Executive Branch acted a~ the zenith of its power in this matter.
               The Executive has inh~rent constitutional foreign affairs
               authority stemming from his power to recognize foreign entities
               or to decline to do so.             Additionally, Congrees has foreign
               policy powers arisinq in part from its plenary authority to
               control entry into this country by foreigners.             In this instance,
               Congress delegated its authority to the Executive Branch, and the
               State Department therefore acted here under the Executive's
               broadest authority.
                          We next show that, in the Foreign Missions Act, Congress has
               explicitly del~ ~. ted to the Secretary's discretion the
               determination of what is a foreign mission.             Conseq‫ז‬.1ently,   if any
                                                                 ‫ו‬

               judicial review is appropriate here at all, it should be
               extremely limited.             If the Secretary has even plausibly acted
               within his substantial discreti‫ס‬n, no further judicial review is
               appropriate.
                          We then demonstrate that the uncontroverted facts establish
               that the State Department clearly did not abuse ito broad
               discretion in designating the PIO as a foreign mission of the
               PLO.         Those facts reveal that the PIO operated as a~ agent of the
               PLO, and carried out advocacy activities ‫ סח‬its behalf.               The PLO
               funded the PIO expenses entirely, except for the salary of the
               PIO Director, which was paid by an organization of which the PLO
               is a member.            The PIO Director consulted with the PLO, and his
               house and cars were purchased with funds apparently provided by
               the PLO.             Finally, the PIO acted ‫ סח‬behalf of DQ foreign
               principal other than the PLO, and undertook ‫ חס‬actions ‫ סח‬its own
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     behalf benefittinq any foreiqn principal other th~n th~ PLO.
     These facts fully support the Secretary's findinq that the PLO
     substantial1y owned and effectively controlled the PIO.
            In the second part of our arqument,      WA   show th~t no First
     A‫נ‬nendment   rights have. been violated by ordering the PIO to cease
     its operations as a PLO mission.         The PLO has no right to operate
     a mission in the United States, even if it has hired American
     citizens and resident aliens in order to do so.
            Moreover, plaintiffs Rahman and the PIO are free to ~xpress
     ‫גצ‬m   views they choose; they simply cannot do so as a PLO mission.
     Given this freedom, plaintiffs cannot show any First Amendment
     violation; nor can they show that the content of their speech has
     been requlated, since they are free to say whatever they please,
     including precisely what they have previously been saying.           Only
     plaintiffs' ability to serve as a PLO mission has been curtailed.
            Indeed, even if First Amendment rights are at stake here, an
     assertion witt1 which we disagree, those rights are n‫ס‬t absolute
     in this context.     Here, they are outweighed by the 12,QDA ~ , but
     narrowly drawn, foreign policy actions taken by the ExecutivA
     against the PLO.
           In the third part of our argument, we refute plaintiffs'
     claim that their due process rights were violated because they
     wera not given a hearing bef~re b~ing designated as a PLO
     mission.     Plaintiffs could possibly have had a right to a hearing
     only if they had s‫מ‬mething apposite to say.          Here, plaintiffs'
     own admissions show sufficient grounds for the State Department




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     to conclude that the PIO vas a PLO mission.         Therefore~ a hearing
     would have served no purpose.
           Finally, we show that plaintiffs' challenge to the Foreign
     Missions Act as unconstitutionally vaque is unavailing.          Thid
     arqument is directed at the district court's reading of the Act,
     which caused it to bypass the issue of the PLO's substantial
     ownership and/or effective control of the PIO.         In this brief,
     however, we defend the State Department's action ‫ סח‬the rationale
     i t used, based 011 ownership or control.      Hence, this arqument
     evaporates if the Court accepts our merits arqwnent.
           Even if the vaqueness arqument survive~, one whose conduct
     falls squarely within the ter‫ום‬s of a statute cannot challenge its
     appl.‫ג‬.cation   to conduct ‫ סח‬the fringes.     Here, thei uncontroverted
     facts show the PIO to be within the heart of the foreign mission
     definition.
                                      ARQt‫ו‬MEN'l'


           I.    '1'BE   EDC‫ס‬TIVBBRANCJI VALIDLY EDRCISED ITS
                 S‫ס‬BSTANTIAL A‫ס‬TJIORITY     IN DESIQNATINQ TJIE PIO AS
                 A i'‫ט‬UIQ!I KISSION 071' '1'BB PLO, AND IN ORDERING
                 IT '1'0 CEASB OPERA'l'IONS IJI TBAT J'ORK.
           A.    Tbo Bzeou~iv• Bra‫ם‬oh Act•4 t‫ ג‬The Very Beight
                 Q& Its constitutio‫ם‬al Autbority ‫ם‬I Tbis Matter.
           It is essential in considering this matter to bear in mind
     that the Executive Branch acted here pursuant to a statutory
     delegation from Congress in the area of foreign affairs.            In
     desiqnating the PIO as a mission of a foreign entity and ordering
     it to cease operations, the State Department therefore acted at
     the apex of its authority because it wielded the combined
     authority of the Executive and Legislative Branches to govern the
     foreign relations of the United States, to regulate a foreign
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       presence in t~is country, and to recognize ~oreign en~ities.                       See
       ‫ס‬ames & Moore v. Regan, 453 u.s. 654, 668 (1984): Youngstown
       Sheet & Tube co. v. sawver. 343 u.s. ‫ד‬,9        t    ‫ן‬s~) (Jackson,
                                                           .'   • .• ~:   .• ••



       J. concurring): Chicago and southern ‫ג‬A          . ~~ v. Waterman

       Steamship Corp,, 333 u.s. 103, 111 (1948).          These ~re areas

       entrusted to the political branch6s of our Government, and are
       ones in which the Judicial Branch plays an ertremely limited
       role.     See Regan v. HAM, 468 u.s. 222, 242-243 (1984):                  Dames &
       Mo9re. 453 u.s. at ~74, 678: HA1g v. ~ , 453 u.s. 280, 292
       (1981).
               This Court too has recognized its restricted authority in
       matters involving foreign relations.        See, ~.g.,             Adams v. Yance,
            • 950, 954-5? (D.C. Cir. 1977)
       570 F.2d                                     (‫[י‬c]ourts            must beware
       ignoring the delicacies of diplomatic negotiations , the
       inevitable bargaini‫ה‬g for the best solution of an internationa l
       conflict, and the scope which in foreign affairs must be allowed
       to the President*):    Sanchez-Espinqza v. Reagan, 110 F.2d 202, 210
       (D.C. Cir. 1985) (declining to find a private right of action in
       the Neutraltty ~~t because doing so might interfere with the
       broad leeway traditionally afforded to the President in foreign
       affairs).
               Specifically , Article II, Section 3 of the Constitution
       provides that the President •shall receive Ambassadors and other
       public Minieters.•     This is a power granted to the Executive
       Br~nch exclusively.
               The PLesident'~ responsibill ty to recogkii~e ambassadors
       includes the power to determine the identity of a                     legiti‫ם‬ate

       foreign delegation. · See S. Doc.     N‫ס‬.   56, 54th Cong., 2d Sess. 19
                                           15
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                                                               ....


                        (1897); S. Doc. No. 82, 92d Cong., 2d Sess. 537-44 (1973).                                                            For

                        example, when a revolution or a civil war occurs in a foreign
                        ::: :. .:-i:.. -    the President has the authori ty to decide which gr‫ס‬up
                        :‫כ‬1‫ג‬a.‫ו‬.l          be recognized by the Uni ted States.                           See Qetj en v. Central

                        Leather co., 246 u.s. 297, 302-03 (1918); united states v.
                        Belmont, 301 u.s. 324, 321-30 (1937); w111iams v. suffolk
                        Insurance co,, 38 u.s. (13 Peters) 415, 420 (1839). ~ccord s.
                        Doc. No. 54-56,               supra. at 18 (‫י‬the President alone is granted
                        power to receive a minister from the Republic of CUba and a
                        fortiori to recognize its existence•); .ig. at 15, 19-20.
                                       The power to recognize foreign entities and to accept their
                        emissaries includes the •power to determine tte policy which is
                        to govern the question of recognition. •                                      United States ·:. link,
                        315 u.s. ~u3, 229 (1942).                      ‫ס‬nce      the Executive makes thesc
                        determinatio ns, his decisions are binding ‫ סח‬the courts.                                                         Pink,
                        315 u.s. at 222-23, 229-30.
                                           At the sams time, Congress possesses significant foreign
                        affairs authority, including the power to enact legislation
                        governing the opening and closing of our borders to aliens and
                         foreign organization s.                       Mandel, 408 u.s. 753,
                                                                   see Kleindienst v.
                         765 (1972); Harisiades v • .s,haughnessy. 342 u.s. 580, 588-89
                         (1952) (wany policy tcwarc aliens is vitally and intricately
                         inter-N‫ס‬ve‫ת‬             with contempora‫ת‬eous policies in regard to the co‫ת‬duct
                         f‫ס‬        foreign relatio‫ת‬s, the war power and maintena‫ח‬ce of republican
                         form of gover‫ת‬ment.                  such matters are so exclusively entrusted to
                         the political branches                  f‫ס‬   government as to be largely inunune from
                    ~     judicial             inq‫ד‬..iry r‫ס‬   interference‫ )י‬.




                                                                                 16




.....   ·-•......-•-,--,--- ,.~~~·--,,.-.,.... ..----          ---.-,~·-.‫~כ‬--~        . . - ... <, --,tq .. ,‫יו~ד‬:-‫ד‬.'!'l"';il‫זיי~י‬----=-‫ד‬--~•-··-··-
                                                                                 -‫~י·יי‬                                                                 .   --,~ ... -
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                                           This power to regulate foreign encroachm ents does not apply
                                     only to alien individua ls.           The $upreme Court has explained that
                                     the "[m]~ans for effective resistanc e against foreign incursion
                                     -- whether in the form of organizat ions which function, in some
                                     technical sense, as 'agents'          f‫ס‬   a foreign power, or in the form
                                     of organizat ions which, by complete dedication and obedience to
                                     foreign directive s, make themselve s the instrumen ts of a foreign
                                     power -- ·-~ay not be denied to the national legislatu re."
                                     ~ommunist Party of the united states v. Subversiv e Activitie s
                                     control Board, 367 u.s. 1, 95-96 (1961).
                                           Thus, in this instance, the State ‫ס‬epartment acted with the
                                     iru‫י‬.erent   foreign affairs authority of the President and the
                                     foreign policy and regulatory authority of Congress delegated to
                                     the Secretary through the Foreign Missions Act.                 For that reason,
                                     the Court must be very wary of intruding into the domain of the
                                     political branches by overrulin g the State Departme nt's
                                     determina tions.
                                          B.       ‫ם‬I ~h• P‫כ‬reiqn Missio‫ם‬s Act Itself, Co‫ם‬gress
                                                   Assiq‫ם‬ed Th• Key ‫רנ‬:c‫ם‬otio‫ם‬s To Th• Discretio‫ם‬    Of
                                                   The secretary ,   ‫נ‬wa   The Role Of The Courts Bere
                                                   Is Tbus Riqbly B•stricte d.
                                           1.     As noted earlier, the Foreign Missions Act states that
                                     "[d]eterm inations with respect to the meaning and applicabi lity
                                     of the terms used      (st‫ג‬ch   as "foreiqn miasion") shall be committed
                                     to the discretio n of the Secreta~-y .•              22 u.s.c. 4302(b).   See
                                     also 22 u.~.c. 43013(g) ("[e]xcep t as otherwise provide'd, any
                                     dctermina tion ~equired under this chapter shall be committed to
                                     ~he discretion of the Secretary ").



                                                                             1·,


. --‫יי‬:‫כ‬r~ l   ; - -   J   ‫גט‬   't                                         -~~‫ד‬r--   ‫י‬   ,---·-
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            Therefore, assuming that there is to be any judicial review
      of the Secretary's determinations under this Act, Congress
      plainly intended that review to be extremely narrow.S          See Dupont
      circ‫ג‬e citizens' Ass'n v. ‫ס‬istrict of columbia Bd. of zoninq
      Adiustment, 530 A.2d 1163, 1168 (D.c. App. 19C7) (leaving open
      question of whether judicial review is available under the Act,
      but finding ‫ חס‬abuse of discretion by the Secretary).           Indeed,
      the language of the statute appears to provide, at a minimum,
      that there be no judicial review when the Secretary has even
      plausibly acted within his authority.
            The assigmnent by Congress to the Secretary's discretion
      here was quite deliberate.       The legislative history of Section
      4302~b) pointedly notes the impact that determinations under the
      Act may have ‫ סח‬the foreign affairs of the United States and the
      par~~ount need to avoid conflicting actions.         Thus, the House
      report explained that Section 4302(b)       ‫י‬is   intended to avoid
      conflicting i‫רג‬terpretations by diff erent government agencies and ·
      courts and potential litigation that might detract from the
      efficient implementation of this title or might adversely affect
      the management of foreign affairs.•        H.R. Rep. No. 102 (Part 1),
      97th Cong., 1st Sess. 30 (1981) (emphasis added).          Accord S. Rep.
      No. 283, 97th Cong., 1st Sess. 7 (1981); s. Rep. No. 329, 97th
      cong., 2d ·sess. 8 (1982).



           5 Plaintiffs note (Br. at 16) that the Senate report or. the
      original statute indicated that nothing in the legislation
      precludes •appropriate judicial reviewR of matters committed to
      the Secretary's discretion. s. Rep. No. 329, 97th Cong., 2d
      Sess. 8 (1982). Given the wording of the A~t, that •appropriate"
      review is obviou~ly to be very limi1:ed.
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‫ז‬                  Moreover, the second amendment to the Act in 1986, further
           reflects the congressional intent to give full effect to the
          Secretary's exercise of discretion.        The congressional reports
          concerning that amendment, which expanded the types of
          organizations that are included as foreign missions, demonstrate
          the intent to leave such determinations to the informed
          discretion of the Secreta~y.       See s. Rep. No. 307, 99th Cong., 2d
          Sess. 23 (1986) (amendments do not require the Secretary to act,
          but ‫י‬enable the Secretary of State to apply [Foreign Missions
          Act] controls in appropriate circumstances•), H.R. Conf. Rep. No.
          952, 99th Cong., 2d Sess. 28 (1986).
                   This legislative intent dovetails with the authorities cited
          in the prior section which establish that the federal courts have
          a very limited role to play in matters affecting foreign
          relations.
                   2.   Even more relevant to this case is the Supreme Court's
          recognition that, because of the rapidly changing and •explosive
          nature of c‫ס‬ntemporary international relations,• legislative
          delegations of authority to the Executive in the area of foreign
          relations msut often be broader than those in domestic matters,
          and such broad delegations are to be given full effect.           Zemel v.
          Billik, 381 u.s. 1, 11. (1965); united states v. curtiss-wriqht, 299
          u.s. 304, 320-22, 324 (1936). Accord American Ass'n of Exporters
          and Importers v. Qnited states, 751 F.2d 1239, 1248 (Fed. cir.
           1985)    (‫[י‬i]‫ח‬   the area of international trade, intimately involved
           in foreign affairs, Congressiona~ authorizations of presidential
           power should be given a broad construction and not hemmed in or
           cabined, cribbed, or confined ~y anxious judicial bJ.i~dersw).
                                             ' 19
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                                                                                                                           1~1‫נ‬1‫ב‬mit‫ז‬rJ~mm rni~1‫נ‬1~m1.‫נ‬11



                               Hence, before accepting plaintiffs'                                                    arg‫םש‬ents                  here that the
                     Executive has exceeded 1.ts statutory authority, this court must
                     be firmly convinced that the Secretary has acted so cavalierly
                     that he has abused the substantial discretion given him under the
                     Act. 6          A ruling by the Court contrary to the Secretary's
                     pronouncemen t would raise the very problem Congress sought to
                     avoid, ~ , conflicting voices speaking for the United States in
                     the internationa l arena.                                See Curtiss-Wrig ht Corp., 29S u. s. at                                       1




                     320.
                                                                                                                                                            ‫ו‬

                                ‫ח‬I    the next section, we show that not only did the Secretary
                     not abuse his discretion under the Act, he acted fully within it
                     by designating the PIO as a foreign mission of the PLO .
                                                                                                                  •
                               c.         The state Depar1:‫פנ‬e‫ם‬t Was Well Within rts
                                          Authority ‫ם‬r Determi‫ם‬i‫ם‬q That The Pr‫ ס‬w~s A
                                          roreign Mission f‫ ס‬The P~LQ=-=~· ---------
                                ~.
                                1                                '
                                          Simply statinq the uncontrovert ed facts here
                     demonstrates the manifest reasonablene ss of the Secretary's
                     action in desiqnating the PIO as a foreiqn mission of the PL0. 7



                            Even if this pase did not involve foreiqn affairs, the
                                6
                     Secretary's implementati on of a new statute that he is charqed
                     with implementinq would be entitled to substantial de‫·נ‬erence.
                     see cheyron u.~ v. ~ural Resources Defense council, 467 u.s.
                     837, 843-44, 865-66 ( 1984) ‫ ן‬zeme1·. 381 u. s. at 11 ‫ ן‬Udall v.
                     Tallman, 380 u.s. 1, 16 (1965).
                          7 Plaintiffs assert (Br. at 46 ‫ח‬.24) that there is a factual
                     dispute as to whether the PLO substantially owned r‫ פ‬effectively
                     controlled the PIO. However, as re~lected from our citations,
                     the E‫ו‬ecutive's findinq ‫ סח‬this point is support~d by facts drawn
                     entirely from plaintiffs' papers. While there may be a legal
                     dispute as to whether these facts constitute substantial
                     ownership or effective control within the meaninq of the Act,
                     there is no dispute as to the material facts themselves at this
                     point because we have thus far chosen to rely ‫ סח‬u‫ת‬controverted
                     facts rather than ‫ סח‬any of the classified material a‫נ‬luded to by
                     Deputy Secretary Whitehead. App. 74.
                                                                                            20
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                                                                      ..........   .':"",----:,‫יד‬-‫י‬:‫חיי‬:-• -~-:--·~~---..,..,  ,..~,,....,..-,-,=---...,,._.,,,..
                                                                                                                            .,_..,,,                        __ "'""··- - - . -... ~ - - - • - .-~--
-‫ר‬--,---·---:‫י‬:‫~"יר‬:-:‫י‬:‫י‬:-~.....,..,.......,,.,..,-;‫יכ=;נ‬--=-‫=י‬-~r-,--
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, ,,.:, ;-   ;   •            •· . -·,     •      '    .   "     -    .   -··   ,-'   • · ·• • '.•7    ,;::_- ,.:-.:. ,.,. __. -~•• ~ --::.c.',‫~•י‬i'   .,--;



                             The PIO is a register ed agent of the PLO, and it represen ted
                     D.Q   other foreign princip als.          APP.• 35.         T11e PIO actively and

                     regular ly carried out advocacy activiti es ‫ סח‬behalf of the PLO.
                     App. 34-35, 76. The PIO conducte d no activiti es ‫ סח‬its own
                     behalf that benefitt ed any other princip al.                          App. 35.

                             In carrying out these activiti es, the salary of the PIO
                     Directo r was paid by an organiz ation of which the PLO is a
                     member.        App. 75-76.       The remaind er of the PIO's budqet was
                     funded ~ntirely by the finance arm of the PLO.                                   App. 75-76.                      The

                     Directo r of the PIO had direct contact wi tl‫ ג‬the PLO.                                       App. 7 6.

                     The PIO ‫ס‬irector _ used office funds apparen tly provided by the PLO
                     to purchas e his cars and house. App. 76. 8
                             Under these circums tances, no persuas ive argumen t can be
                     made that the Secreta ry's broad discreti on was abused in findinq
                     that the PIO was •substa ntially owned and/or effectiv ely
                     controll edw by the PL0.9


                             8 Moreove r, in a recent u.s. televisi on intervie w ‫ סח‬Januarv ·
                      8, 1988, PLO chairman Yasir Arafat complain ed about United States ·
                     'policy involvin q the Middle East. ‫ח‬I answerin q question s from
                      ABC news reporte r Ted Koppel, Arafat stated: •Are you aqainst
                       '.nterna tional leqality , Mr. Koppel? It seems that you are not
                      only with closing our offices, but also you are aqainst
                      interna tional leqality and internat ional United Nc\_tions
                      resolut ions.• See •‫א‬iqhtline• transcr ipt, •Talkinq with Yasir
                      Arafat, • at 5 (Jan. 8, 1988). Thus, the Chairman of the PLO
                      apparen tly was complai ninq about ·;.:be closinq of •23‫ג‬..t: offices•
                       (emphas is added) by the United States.
                           9 Plainti ffs state (Br. at 23-24 ‫ח‬,12, 42) that the issue
                      of whether the PIO was substan tially owned or effectiv ely
                      control led by the PLO (and is for that re&son a foreiqn mission
                      of the PLO) is not now before this Court because the distric t
                      court d~d not reach it, even thouqh it was the reasonin q relied
                      upon by the State Departm ent. App. 16. Plainti ffs' claim is
                      flatly wronq. A judqmen t can be supporte d on any qrou‫ת‬d with
                      support in the record. See 1.\.‫ש‬m v. Bacon. 457 u.s. 1‫נ‬2, 137 n.5
                      (1982); Jaffke v. ‫ס‬unham, 352 u.s. 280, 281 (1957). A‫ת‬d here, ) as
                                                                        ( continue d •••
                                                                 21
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                         Plaintiffs concede {Br. at 24 n.12) the funding of the PIO
                  by the PLO, and describe the relationship between these two
                  groups as that of 9rantee-9ran tor.              This analogy does not assist
                  them because it is apt only if the qrantee is one that receives
                  virtually all of its.funds from the qrantor, and does nothinq
                  other than spend that qrantor's funds.              In such circumstance s,
                  common sense compels that the qrantor effectively controls the
                  qrantee for the obvious reason that otherwise the funds are
                  likely to be withdrawn.
                         The State Department's determinatio n of effective control
                  here is also supported by the rulinq in communist Party v. ~ ,
                  supra.     There, the Supreme Court held that the term •control,w as
                  used in a statute relating to or regulating foreign policy
                  interests, should not be given an •arcane, technical meaning.‫פ‬
                  367 u.s. at 38.        The Court noted that •substantial direction,
                  domination, or control of one entity.by another may ~xlst without
                  the latter'a havinq power, in the event of non-complian ce,
                  effectively to enforce obedienc~ to its will.•              I.g. at 36.   The
                  Court then examined the many potential indicia of foreign control
                 over an orqanization , and found that ·the existence of foreiqn
                  control    ‫י‬is   larqely a matter of the workinq out of legislative
                 policy in multiform situations of potentially qreat variety
                  * * *·•     I.g. at   4o. 10
•
                      9{ ••• continued)
                 shown in the text above, there is more than ample s‫גז‬pport in the
                 record for the Executive's findinq that the PLO substantiall y
                 owned and/or effectively controlled the PIO.
                      10 Plaintiffs cite {Br. at 24 n.12) H‫גנ‬ll v. Eaton Corp., 825
                 F.2d 448, 457 {D.C. Cir. 1987), for the proposition that the
                                                                 · {continued ••• )
                                                              22



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            If this Court holds that the Secret ary cannot define an
      office ‫זז‬ith the charac teristi cs of the PIO as a foreiqn missio n,
      there will be little left f‫ ס‬the Secret ary's power under the Act
      beyond design atinq an embass y or a consul ate as a foreiqn
      missio n, a task that hardly would requir e the type f‫ ס‬detaile d
      defini tion set out in the Foreiqn Missio ns Act.       22 u.s.c.
      4302(a ) (4).   Yet, the leqisla tive histor y of the 1986 amend‫ג‬nent
      to the Act, which broade ned the defini tion of •foreiq n missio n,"
      shows that Conqre ss meant the ‫פ‬ecretary to use his expert
      judgme nt in desiqn atinq foreign missio ns despit e effort s to
      obscur e or disgui se them.    See infra, at 26.
           2.  Plaint iffs nevert heless conten d (Br. at 20) that, even
     though the State Departm ent obviou sly meant to design ate the PIO
     as a foreign ~issio n, there was e techni cal flaw in its
     desiqn ation docume nt.    They argue that althouq h the Deputy
     Secret ary describ ed the PLO as an orqani zation that had been
     given privile ges under Americ an l~w (App. 16), he failed to state
     that the PLO repres ents a territo ry or a politic al entity , as
     require d by the Act.
           This overly techni cal argume nt is withou t merit becaus e the
     State Departm ent docume nts make clear that the Execut ive found
     the PLO to fall within the meanin g of the statute .        The State

           lO( ••• continu ed)
     determ ining factor here should be contro l over the day-to -day
     operat ions of an office . &11.l, howeve rr conce~ ned the questio n
     of a manuf acturer 's vicario us liabil ity for a seller 's
     negliqe nce. The terms in the Foreign Missio ns Act are not
     qovern ed by vicari ous·li ability law, but deal with foreiqn
     affair s. ‫א‬ot only do the politic al branch es enjoy plenary power
     in this area, but Conqre ss has qranted the Secret ary explic it
     a‫גז‬thority under the Foreiqn Missio ns Act to define its
                                                                 terms as
     approp riate to the proper conduc t of the foreiqn affair s.

                                         23
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'          Departm ent documen ts had to be carefull y phrased because the
           United States does not officia lly recogniz e the PLO.
           Neverth eless, the PLO is the type of er~tity contemp lated by the
          ~ct since it is obvious ly an organi:~ ation that represe nts a
          politica l entity: the PLO itself.
                Plainti ffs' assertio n (Br. at 21 ‫ח‬.9) that the Act cannot be
          so read is wrong.     The wording of the Act can be read to cover as
          a foreign mission an entity controll ed by an organiz ation that
          represe nts a politic al entity even if that politic al entity is
          not one that we recogniz e as having a constitu ency.        To read the
          Act otherwis e is to defeat the congres sional purpose behind the
          1985 and 1986 amend‫נ‬nents, which was to ensure that the Secreta ry
          has the ability to deal with complex and fluid situatio ns as
          appropr iate.    See infra, at 26. 12
                Plainti ffs' argumen t ‫ סח‬this point asks the Court to take
          precise ly the type of action upsettin g delicate foreign af.fairs
          matters that both it and the Supreme Court have on numerou s
          occasion s instruct ed against .    See supra, at 14-15.     Given the
          signific ant foreign relation s concern s at stake here and our non-
          recogni tion policy of the PLO, plainti ffs' claim should be
          rejected .
                3.     Plainti ffs also attempt (Br. at 21-23) to escape the
          coverage of the Act by giving the delegati on ‫ס‬t the Secretar y a
          narrow reading that conflic ts with the statute 's plain language •
•
          The distric t court correct ly rejected this argumen t.       App. ]06-
          07.

               12 M‫ס‬reover, the PLO claims- to represe nt the Palestin ians as
          a politica l entity. See infra. at 28-29 ‫ח‬.17.
                                              24
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             Plaintiffs argue that, although the Act does not say so,
     Conqress meant to limit the word •entityD in the Act to
     commercial establishments.      Besides adding words that ~ongress
     did not, this arg‫ש‬nent collides head-on with the admonitions
     cited earlier    (supra, at 19) that the courts should not read
     restrictively a legislative dele9ation to the Executive in the
     f‫ס‬reign    affairs area.
             Any •mission to or agency or entity in the United States•
     which meets the other requirements of Section 4302(a) (4) may be
     designated by the Secretary as a foreign mission.          Congress did
     not specifically defi~e the terms •mission to or agency or entity
     i‫ח‬. 6    However, given the ordinary meaning of these words, 13 the
     discretion Congress granted the Secretary to define terms in the
     statutc, and the PIO's status as a registered agent under the
     Foreign Agents Registration Act (22 u.s.c. 611,        ~ ‫ע‬g.),     the
     State Department properly found that the PIO qualifies for
     desiqnation as an agency or entity.
             The Secretary's conclusion is also consistent with the
     evolution of the statutory definition f‫ ס‬Dforeign mission,D which
     hae been expanjed twice to give the Secretary greater power to
     regulate foreign missions.
             As originally defined, an office that met various other
     statutory requirements could qualify as a Dforeign mission• under
      0
     the Foreign Missions Act if it was an Dofficial mission.•           Pub.

          13 When Congress fails to define a term, a reviewing court
     may look to the ordinary meaning of the words employed. Russe‫ג‬..lQ
     v. United States. 464 u.s. 16, 21 (1983). The PIO plainly
     qualifies under the definitions for •agency• and •entity• given
     in The American Heritage Dictionary (2d college Ed. 1982), and
     Webster's ‫א‬inth ‫א‬ew ·C ollegiate Dictionarv (1985).
                                         25
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                             ,~: ·;·;:;‫ו‬.   -:": .    . .._;•:!'::;':;t,' :,.:_.~ ~ .,‫"ך‬t.<;, . {',"-:~,~ • ,-:;,~;'‫נ‬-·~‫ז‬:~Z°~‫·ל‬:;~,r.:;:..:;::~~,~-1(1\~ii.~-~~~fi!.i‫<נ‬
                                     .       ,.....                   ,    ,,     .   ....        ‫"'ץ‬,'"':.••.-, .... ~ ..Jr/;‫ • ~~י‬.1•:..~: ‫·•ז‬,   .‫ך'י‬,‫ז‬.‫ינ‬,. , • .-.: 1   • .‫וז‬,:J;~1 ‫ ז‬,"'t




         L. 97-241, Title II, Sec. 202: 96 Stat. 283-84.                                                                   But, in 1985,
         Congress expanded the ter‫ םז‬Rofficial mission• to •mission to or
         agency in• the United States.                                Pub. L. 99-93, Title I, Sec. 127;
         99 Stat. 418.       It again enlarged the scope of the Act in 1986 to
         include also an •entity.#                         Pub. L. 99-569, Title VII, Sec. 701:
         100 Stat. 3204.          Nevertheless, plaintiffs urge that even the
         broad word   6
                          e‫ח‬tity•           as used in the Act really means 6 commercial
         enterprise.#       If Congress meant to reach only certain commercial
         entities, the amendment could have been so restricted.
               Moreover, one of the legislative ~eports cited by plaintiffs
         (Br. at 22) supports a broad interpretation of the ter‫• םז‬mission
         to or agency or entity in.•                             The Senate Report ~xplains that
         Congress twice amended the defi‫'ח‬ition of foreign mission, as set
         forth above, to make explicit the potential reach of the \ct so
         that foreign missions cannot frustrate conqressional intent by
         use of •covers• that arquably avoid the reach of the hCt as
         originally written, due to Congress's inability to predict the
         various masks a        f‫כ‬reign               mission might don.                                 s. Rep. No. 99-307,
         supra, at 22-23 (1986).14
               4.    Plaintiffs further claim (Br. at 27 ‫ח‬.15) that the
         explicit coverage of qroups like the PIO in the new Anti-
         Terrorism Act of 1987 (described above at 9-10) suggests that the
         PIO was not covered by thd Foreign Missions Act.                                                                    This arqument
         is meritless.      The new statute gov~rns groups or activities


              1 4 The floor deba~e ‫ סח‬the 1985 amendments also reflected
         general concern with the ability of •so-called unofficial
         missio‫ת‬s• to use the somewhat restrictive lanquage of the
         original definition as a •1oophole.• 131 Cong. Rec. H2991 (1985)
         (Rep. Mica).
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          conn~cted with the PLO well beyond those that would constitute
          foreign missions; thus, it has a different purpose and reach than
          the Foreig‫ ןג‬Missions Act. 15
                 Moreover, the type of. argument raised by plaintiffs has b~en
          rej ected on n‫ש‬n~ro‫ז‬.,s occasions by the Supreme Court.         The fact
          that Congress passes new legislation explicitly covering a
          ‫ף‬ituation    does not mean that the prior statute did not already do
          so.    see, ~.g., united states v.       ‫א‬ew   York Telephone co., 434 u.s.
          159, 177 n.25 (1977).        Therefore, nothing in the new Anti-
          Terrorism Act suggests that ‫י‬t ' State Department abused i ts
          discretion in finding the PIO covered by the Foreign Missions
          Act.

                        *         ·•          *             *         *
                 ‫ח‬I   sum, the Executi'\re Branch acted Wf!ll within its very
          broad authority stem‫נ‬ni~g from the statut~ and the Constitution in
          designating the PIO as a foreign mission of the PLO.            Theref ore,,1
          the remainder of this case must be analyzed with the recognition
          that the ~xecutive's action has been taken against a foreign
          entity that has .D.Q right whatsoever to operate in the United             ,
          States, except as the political branches f‫ ס‬the Government allow.


               1 5 Plaintiffs also seem to dispute the Executive's ability
          to close th•! mlssion of a foreign entity by ass..erting (Br. at 25-
          26, 37) tha~ the President's power is limited by the F‫ס‬reign
          Agents Registration Act (22 u.s.c. 611 ~ ‫ע‬.g.) and the
          International Emergency Economic Powers Act (50 u.s.c. 1701 g
          u.g.). The former regulates persons acting on behalf of foreign
          principals and the lattor recognizes the Executive's pover to
          declare economic e‫ם‬J‫כ‬argoes. The constitutional and statutory
          power here is quite distinct; it is the power to control an
          office operated by a foreign entity, not simply to require
          disclosures by lobbyists. Nothing in either statute cited by
          plaintiffs even hints that Congress meant to restrict in any way
          this separate authority.               ~

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                                            ;·~          ~   . . . . . ., 1 ‫ז‬
        ‫ן‬:.'       ·.                                                                                                                                         .
                                                                                                                                               ‫ן‬.:•,:....... ‫•~ף‬1, ~•~~~:f;f{:~:~‫ז·~ז‬1 -.~~ ~~-- .‫•~ן‬.‫זןוו‬:•‫~י~~ ;ר‬i':f~‫ז‬f
       r,;
                                                                                                   '<. •   -•~ ,C•   •   ~. ,·.. ·:_. t~I:,~




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       ·"-                          II.             TD STATB DBPARTMENT 1 8 AC'l'ION CLOSING A MISSION
                                                    OJ' TBE »LO DID NOT VIOLATB UY l'IRST AMBNDMENT
                                                    RIGBTS.
                                    A.              D Q&UB8 The ‫צ‬E outivo Clos 4 ‫ ג‬Missio‫ ם‬Ot A
                                                    Foroiq‫ ם‬E‫ם‬tity, Ho First A‫םנ‬e‫ם‬c‫ב‬ae‫ם‬t Ri9hts Are
                                                    xmplicatea 11re,
                                   As described above, the Executive decided to close the PLO
                         mission in Washington, D.C. in order to express its disapproval
                         of the PLO's continued support f~r terr‫ס‬rists, including the
                         PLO's retention on its Executive Committ~e of an oftic·Lal
                         allegedly responsible for the recent murder of a United States
                         citizen, Leon Klinghoffer.                                        The congressional findings in the
                        Ant:i-Terrorism Act of 1987 further detail the ways in .which the
                        PLO acts against the interests of the United States and its
                        cttize‫ת‬.s. 16

                                   In order to put the First Amendment analysis in this context
                         in its proper perspective, it is essential to focus ‫ סח‬who is
                        asserting the First Amendment rights, and the entirely different
                        constitutional status of foreign entities and American citizens.
                        Foreign political entities such as the PLO, which purport to be
                        sovereign entities, have no constitutional rights.17                                                                                                                   Si‫ח‬cP.            the


                             ‫ם‬i see Hanoch Tel-Qren v. Libva. 726 F.2d 774, 776, 799
                        (D.C. Cir. 1984) for an example of other PLO terrorist
                        activities.
                                    1 t‫ד‬--‫די‬
                                    is explicit and long-standing u.s. policy not to
                        recognize or negotiate with the PLO so lo9g as it does not
                        recognize Isael's right to exist and does no~ accept U.N.
                        Security Council Resolutions 242 and 338. Nonetheless, the PLO,
                        which purports to represent the Pale~tinian people considers
                        itself a •state,• or representative of one, entitled to
                        recognition in the international arena, and claims privileges ar.d
                        i.m‫ם‬unities generally extended only to a sovereign nation and its
                        representatives. The PLO has been accorded observ~r status at
                        the United Nations (G.A.Res. 3237, 29 u.‫א‬. GAOR Supp. (No. 31) at
                        4 U.N.Doc. A/9631. (1974)). Members of the PLO Observer' Mission
                                                                          ( continued ... )
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                                                                       the PLO, it has
                purp ose of the PIO is to act as the •voic ew of
                                                                        In any even t,
                only the con stitu tion al non -sta tus of the PLO.
                                                                     and lega l stat us
                assu ming argu endo thnt the PIO has an exis tenc e
                                                                    juri dica l •per sonn
                sepa rate from the PLO, it is at most a fore ign
                                                                      Unit ed Stat es
                whic h is pres ent here at the suff eran ce of the
                                                                      at any time for
                Gove rnme nt, a priv ileg e whic h may be with draw n
                any D.QDA ~ fore ign poli cy reas on.
                                                                           othe r
                      It is true , of cour se, that plai ntif f Rahman and
                                                                     Firs t Ame nd~e nt
                Ame rican citiz ens staf fing the PIO have com plete
                                                                     a repr esen tativ e
                righ ts. How ever, they have no righ t to spea k M.
                                                                  is the only
                of a puta tive fore ign poli tica l enti ty. This
                                                                     . Rahman rema ins
                disa bili ty whic h has been impo sed ~pon them here
                                                                        rs, to enga ge i.n
                who lly free , indi vidu ally or in conc ert with othe
                                                                      ch in supp ort of,
                any poli tica l spee ch he desi res, incl udin g spee
                                                                            tion h‫ס‬stile
                 r‫ס‬deri ved from , the teac hing s of a f‫ס‬rejgn or9a niza
                 to the Unit ed Stat es.    Acc‫ס‬rdingly,    Rahman has suff ered no
                                                                        poss esse s as an
                 cogn izab le depr iv~t ion of frce spee ch righ ts he
                                                                       alte r ego f‫ ס‬an
                 indi vidu al, but only the righ t ‫ס‬t spea k as the
                                                                      able ‫ס‬t take
                 enti ty agai nst whic h the Unit ed Stat es must be
                                                                     ssar y auth ority to
                 adve rse acti on ‫ס‬t fulf ill its plen ary and nece
                 cond uct f‫ס‬reign affa irs.    We will exam ine each of thes e poin ts in

                 turn .


                     17( ••• cont inue d)
               have been acco rded cert ain priv ileg es betwin the Unit ed Stat es by
j-             virt ue of the Headq‫ז‬.1arters Agre emen t ). een
               and tbe Unit ed Nati ons (21 u.s. T. 1416with Iki
                                                                     the Unit ed Stat es
                                                                     addi tjon , the PLO is
                                                                  appr oxim ately one
               repo Ltcd to have dipl oma tic rela tion s       See  Kass  im, ~
               hund red coun tries thro ugho ut the worl d.               us;  A Juridic(\J.
               Pale etin e Libe ratio n Qrg aniz  atio n's Claim To stat
                                                                    Int' l  L. & Poli cy 1,
               A‫ח‬alvsis    Under Inte rnat iona l :u,‫צ‬, 9 Den. J.
               2-3    (198 0).
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                         1. There is n~ quest ion that the PLO is a forei qn entit y
                                                                                Unite d
                 for cons tituti onal purpo ses and that it inter acts with the
                 State s only as a forei qn entit y.             As such, it has no

                 cons tituti onal right s.    This concl usion flows inexo rably from the

                 natur   e of forei qn entit ies and their inter actio n with the Unite d
                 State s as forei qn entit ies.
                         The Unite d State s,   as a       natio n amonq natio ns, is neith er

                  subje ct, nor sover eiqn, but one amonq equa ls.                                       See CUrtiss-Wright

                  corp •. 299 u.s. at 315-1 8: The schooner Exchanqe v. Mcfaddon. 11
                  U.S.   (7 Cranc h) 116, 136 (1812 ).

                       The Fram ers f‫ ס‬the Constitutio‫ ח‬under stood that the Unite d
                  State s, as ah entit y, deriv ed its power to condu ct forei qn
                                                                                    from
                  relat ions not from its dome stic instru ment of qovernme‫ח‬t but
                                                                                       r
                  its statu s in inter na~io nal law as an indep enden t state . Rathe
                                                                                    and
                  than confe rri~q ‫ סמ‬the Unite d State s the power to wage war
                  condu ct diplo macy , the autho rs of the Cons tituti on under stood
                                                                                   hes of
                  that they were only alloc ating those powe rs amo‫ת‬q the branc
                                                                                       rs
                  the natio nal gover nmen t and provi ding suffi cient dome stic powe
                  to make them effec tive.     See curti ss-W riqht . 299 u.s. at 315-1 8.
                         Cons isten t with this unde rstan ding, the Supre me Court has
                  held from the earli est times to the prese nt that the
                                                                         Unite d

                  State s as an entit y posse sses the full powe rs of a sover eiqn
                  natio n not by grant under the Cons tituti on but under
                   inter natio nal law.             Klein diens t v. Ma‫ח‬del, 408 u.s.
                                           See, §.g.,
                   ~‫נ‬s‫ ד‬762 (1972 ) r Fong Yue Tinq v. ‫ס‬nited state
                                                                     s, 149 u.s. 698
                   (1893 ); Schoo ner Ex9hange, 11 u.s. at 116; Pe‫ח‬hallow
                                                                            v. Doane, 3

                   u. s. (3 Dal.) 54, 80-81 (Patt erson , J.) •

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                                                                                         r
                                                                    _Uni ted Sta tes
                  As n dire ct resu lt of tha t sov erei gnty , the
                                                              the con stit utio nal
            inte ract s with fore ign ent itie s not with in
                                                                 l of inte rna tion al
            syst em, but as a juri dica l equ al, on the leve
                                                               s outs ide the
            law and dipl oma cy. Sim ply put, the PLO Rlie
            stru ctur e of the unio n.R Prin cipa lity of
                                                             Monaco v. Mis siss ippi .
            292 u.s. 3131 330 (193 4).
                                                                  ent itie s such as
                 This prin cipl e mak es sens e beca use fore ign
                                                           gati on to abid e by the
            the PLO "(ha ve] und erta ken no gen eral obli
                                                             gove rnm ent and the
            con stit utio nal norm s to whic h the fede ral
                                                             any effe ctiv e mea ns to
            sev eral stat es are sub ject , nor are ther e
                                                                  es or the stat es for
            plac e [the m] on a par ity with the Uni ted Stat
                                                               s.• Dam rosc h, Fore ign
            purp oscs of enfo rcem ent of par ticu lar norm
                                                              . 483, s2‫ו‬. (198 7).
            Sta tes a‫ת‬d the con stit utio n, 73 Va. L. Rev
            Acc ord L. Hen kin, Foreign Aff airs and the
                                                              Con stitu tion 254 (197 2)
                                                                 righ ts). 18
             (for eign gove rnro ents have no con stit utio nal
                                                                     sov erei gnty is the
                   A natu ral attri.‫כן‬ut1~ of the Uni ted Sta tes'
                                                                   ral pol itic al
             oft- men tion ed "ple nary R ~~t hori ty of the fede
                                                                  lier (at 15-1 7).
             bran ches ove r fore ign affa 1~s , desc ribe d ear
                                                                    470, 492- 93 (190 4):
             see, ~.g ., But terf ield v. stra nah an, 192 u.s.
                                                                            rna tion al
             curt iss- Wri ght. 299 u.s. at 320. All mat ters f‫ ס‬inte
             con cern fall with in fede ral pow er. Missour
                                                             i v. Holla‫ח‬d, 252 u.s.
                                                            allo ws the Fed eral
             416, 432- 35 (192 0) (for eign affa irs pow er




                    18 This is not to sugg est tha t the Sevcou rts have not
                                                        .       eral case s of stat uto ry
              ente rtai ned suit s by fore ign nati ons      ort the noti on tha t
              inte rpre tati on and occa sion al dict a supp        as othe r juri dic al
              fore ign sove reig ns shou ld be trea ted the a,same                  8)
              pers ons . see, ~.g ., ffiz er Inc, v.4 ofIndi 434 u.s. 3PB (197   incl  ude
                                                           the   Clay ton Act to
              (int erpr etin g nper son" in sect ion
              fore ign stat es).
                                                   31
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                                                                                                        trad itio nall y
                  Gove rmne nt to regu late by trea ty even subj ects
                  fall ing with in stat e juri sdic tion ).19
                                                                               conc lusio n
                       App licat ion of thes e prin cipl es here com pels the
                                                                         ndment righ ts on
                  that the PIO cann ot be hear d to asse rt Firs t A‫נ‬ne
                  beha lf of the PLO.   Beca use the PLO purp orts to be an inde pend ent
                                                                           Whil e the
                  fore ign enti ty, it has no con stitu tion al righ ts.
                                                                       s with the PLO,
                  Unit ed Stat es does not have dipl oma tic r6la tion
                                                                          Cert ainl y, the
                  this fact does not affe ct this basi c prin cipl e.
                                                                         righ ts than
                  PLO cann ot claim to have 2rea ter con stitu tion al
                                                                       ed Stat es. Sinc e,
                  fore ign enti ties reco gniz ed as such by the Unit
                                                                        con trol led by the
                  the PIO was subs tant ially owned or effe ctiv ely
                                                                        of the PLO. Thus ,
                  PLO, it has only the con stitu tion al non -sta tus
                  orde ring it to ceas e oper atin g as a fore ign miss
                                                                                                             ion does not
                  imp lica te the Firs t Amendment in any way. 20
                                                                                    rate
                        2.     Even assu ming that the PIC had an iden tity sepa
                                                                        ter beca use it was
                   from the PLO, as a lega l and fore ign poli cy mat
                                                                       by the PLO, it may
                   subs tant ially owned or effe ctiv ely con trol led
                                                                       l bran ches ' plen ary
                   none thel ess be clos ed purs uant to the poli tica
                   auth orit y to proh ibit fore ign encr oach men ts.


                          19 Thus , Unit ed Stat es cour ts will not even    take cogn izan ce
                                                                         ig‫ ת‬poli tica l
                   of a con stitu tion al (or othe r) claim by a fore
                                                             es it. United Stat es v •
                   enti ty unle ss the Exec utiv e reco gnizabli
                   .E.ink, 315 u.s. 203 (194 2). · The •este branshed rule • is one of
‫ו‬
                   •com plete defe renc e to the exec utiv         ch• in its dete rmin atio n
j       •
                   whe ther to gran t a fore ign enti ty acce ss tonglyUnit ed Stat es cour ts.
                                                  319- 20. Acc ordi      , the poli tica l
1                   Pfiz er. Inc. , 434 u.s. at enti   ties as such all con stitu tion al
                    bran ches may deny fore ign                              e thos e righ ts
\ .                 righ ts and prec lude them from seek ing to vind icat
                    in Unit ed Stat es cour ts.
1                                                                            33), this case
                          20 Con trary to plai ntif fs' rhet oric (Br. at
                                                                 asso ciat ion with anot her
    j               does not invo lve guil· I: of one part y by has
                    part y. Rath er, here , the firs t part y       been foun d to be the
                    alte r ego of the seco nd part y.
                                                        32




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                                                                                                                      • ...,,,,c.,::,._::-,~•"""
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                                                                                  M 3E1&‫ל‬liE




                 As descr ibed e~rli er, the Supre me Court has repea tedly
            emph asized that the power to exclu de or to depo rt forei gn
                                                                           tainin g
            natio nals is Ninh erent in sover eiqnt y, neces sary for main
                                                                                 st
            norma l inter natio nal relat ions and defen ding the coun try again
            forei gn encro achm ents and dange rs -- a power to be exerc ised
                                                                              l,
            exclu sivel y ~Y the polit ical branc hes of gover nmen t.• Ma‫ת‬de
            408 u.s. at 765.     R[O)v er no conce ivabl e subje ct is the
‫·ו‬
                                                                                      the
1
            legis lativ e powe r of Cong ress more comp lete than it is overa
‫ו‬           admi ssion of forei gners . Qceanic Steam ‫א‬avigation Co, v.
1
            stra‫ח‬ahan,   214 u.s. 320, 339 (1909 ).     Acco rd, fiall o v. b.ll, 430
1
            u.s. 787, 792 (1977 ).
                 The Supre me Court has noted that •any polic y towar d alien s
            is vital ly and intri catel y interw oven with conte mpor aneou s
                                                                             war
            polic ies in regar d to the condu ct of forei gn relat ions, the
            power and maint enanc e of repub lican form of gover nmen t. Such
                                                                                     hes of
            matte rs are so exclu sivel y entru sted to the polit ical branc
            gover nmen t as to be large ly immune from judic ial inqui ry or
             inter feren ce.•   Haris iades . 342 u.s. at 588-8 9.    See also Galva n

            v.   Press. 347 u.s. 522, 531 (1954 )     (‫י‬that   the form ulatio n of
                                                                                e
             these polic ies is entru sted exclu sivel y to Cong ress has becom
                                                                                 es
             about as firml y embed ded in the legis lativ e and judic ial tissu
             of our body polit ic as any aspec t of our gover nmen t•).
                  Pursu ant to this sweep ing power over entry into the Unite d
             state s, •cong ress regul arly makes rules that would be
             unacc eptab le if appli ed to citize ns.R Fiall o, 430 u.s. at
                                                                            792.
                                                                            Mathews
             Accor d Scale s v. Unite d State s. 367 u.s. 203, 222 (1961 );
             v. ~ , 426 u.s. 67, 80 (1976 ).


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                                                                        the basi s. of
                    Spe cifi call y, Con gres s may excl,‫ג‬de alie ns on
                                                                   the dom estic aren a,
              crit eria tha t wou ld clea rly be pros crib ed in
                                                                mac y.              see, §.g .,
              such as pol itic al bel iefs , sex, a‫ת‬d ille giti
              Kle inde inst v. Man del.   supra; Fia llo ,,. bll , supra.                At mos t,
                                                                     cho ice to detg rmin e
              cou rts may revi ew thes e con gres sion al · poli cy
                                                                      tim ate and bona
              whe ther they are supp orte d by a •fac iall y legi
                                                                    such a reas on exi sts,
              fide reas on.• Fia llo, 430 u.s. at 795. If
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                                                                   rcis e of tha t
!             •the cou rts may neit her look behi nd the exe
j
                                                                     ific atio n aga inst
              disc reti on, nor tes t it by bala ncin g its just
1                                                                       some com mun icati on
j
j
              the Firs t Amend‫נ‬nent inte rest of thos e who seek
              with the app lica nt." ~~, 408 U.S . at 770.
1

                                                                      Exe cuti ve
                     In sho rt, the bas ic rati ona le u‫ת‬derlying the
                                                                 m of inte rna tion al
               acti on here is tha t "[i] t is ‫ת‬a acce pted maxi
                                                                   er, as inhe rent in
               law, tha t ever y sov erei gn nati on has the pow
                                                                 tion , to forb id the
               sov er~i gnty , and esse ntia l to self pres erva
                                                                  to ad‫נ‬nit them only
               entr anc e of fore igne rs with in its dom ain, or
                                                                  may see fit to
               in such case s and upon such con diti ons as it
               pre scri be.•   E.k1Y v. United stat es, 142 u.s. 651, 659 (189 2).
                                                                ngly , dep orta tion is
               Acc ord Galvan, 347 u.s. at 530 -32. Acc ordi
                                                                draw al of the
               not view ed as "pun ishm ent, w but mer ely with
                                                                   See B\‫נ‬gajewitz v.
               priv ileg e of rem aini ng in the Uni ted Sta tes.
               Adam s, 228 u.s. 585, 591 (191 3Y.
                                                                          tha t Con gres s
                       The re is no prin cipl ed bas is for conc ludi 11g
                                                                          dic al pers ons ,
                has   less auth orit y with resp ect to fict ion al juri
                                                                   ign orga niza tion
                such as the PIO, whic h was esse ntia lly a fore
                                                                 ove r indi vidu al
                beca use of its tie to the PLO, than it does
                                                                ity s~ch as the PIO
                alie ns. Bec ause phy sica l remo val of an ent
                                                                    abi lity to orde r
                from the cou ntry is obv ious ly imp ossi ble, the
                                                      34



                                                           - . ,. --~
                                                                ~       --‫יירז‬-‫י‬--‫י‬:--~::‫יז‬r‫י‬-·~-
                                                                                                    ----
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;,.




                                                                 is with in the
           cess atio n of its org aniz atio nal acti viti es
           Gov ernm ent's auth orit y.
                                                                     t to the broa d
                  Here , the Exe cuti ve has take n acti on purs uan
                                                             encr oach men ts and
            pow er of the pol itic al bran ches ove r alie n
            fore ign affa irs.       Even acce ptin g_ pla inti ff's argu men t tha t the

            PIO ‫זי‬.·ras an ent ity   sep arat e from the PLO, the pol itic al bran ches
                                                               orit y to stop
            of our Gov ernm ent nev erth eles s have the auth
                                                               s.•2 1 As a fore ign
            incu rsio ns by such fore ign juri dic al •per son
                                                             ip or effe ctiv e
            nper son" beca use of its sub stan tial own ersh
                                                             clos ure for any 12.QM
            con trol by the PLO, the PIO was sub ject to
                                                                ther tha t reas on is
            fide fore ign poli cy reas on, rega rdle ss of whe
                                                                 fore ign enti ty to
            prem ised on ideo loqi cal disa gree men t with the
            whic h the PIO was al‫ג‬ied.
                                                                  repr esen tati ve of
                  Acc ordi ngly , the PIO eith er as an offi cial
                                                               effe ctiv ely
            the PLO, or an en~ ity sub stan tial ly owned r‫ס‬
                                                               g into this cou ntry
            con trol led by it, may be barr ed from intr udin
                                                            on take n here
            con sist ent with the Con stitu tion . The acti
                                                                      was a perm issi ble way
             pro hibi ting the mai nten ance of an of.f ice --
             f‫ ס‬acco mpl ishi ng this pow er.

                   3.      As a citi zen , pla inti ff Rahman enjo ys the full
                                                                         utio nal
             pro tect   ion of the Firs t Amendment and othe r con stit


                   21 For obv ious reas ons , even if the PIO and the PLO den ied
             the ir alle ged link -- whic h the PIOmple has not -- such a den ial
             wou ld n‫פ‬t be con trol ling . For ·exa       , the Supr eme Cou rt
                                                          Communist Par ty as an
             acce pted Con gres s's·d efin itio n of the, dom     ed or con trol led• by
             orga niza tion •sub stan tial ly dire ctedy itseinat
                                                               lf vigo rous ly resi sted
             a fore ign pow er even thou gh the Part                u.s. at 8-9; see
             such a desi gna tion . See communist ‫ץ‬art‫צ‬, 367El comercio Ext erio r
             also Firs t Nat iona l Cit‫ צ‬Bank     v. Banco Para
             de Cub a, 46~ u.s. 611 (198    3)   (CUban bank , esta blis hed by Cuban
                                                              w‫ס‬uld not be so trea ted
             gove rnm ent as sep arat e juri dica l enti ty,      Cuba n gov ernm ent) .
             due to rela tion ship betw een the bank and the
                                                      35




                                      - ---~----......-~:-::::==-=:
                                                                                             ·-·~ r?
                                                                   ‫ס‬::::----:‫===ד‬------‫י‬,"'"',
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                                                                         to act
         pro visi ons . But he does not have a con stit utio nal ~·igh t
                                                           ent ity such as the
         as the agen t or repr esen tati ve of a fore ign
                                                          nt righ t to spea k .U a
         PLO. Put simp ly, ther e is no Firs t Amendme
                                                           they have done here
         fore ign ent ~ty. The pol itic al bran ches , as
                                                              ign affa irs
         purs uan t to the ir extr aor din aril y broa d fore
                                                                 a form al agen cy
         auth orit y, may forb id Rahman from esta blis hing
                                                         ign ent ity. Look ed at
         rela tion ship with the PLO -- a h9s tile fore
                                                           id Rahman from
         ano ther way , the pol itic al bran ches may forb
         spea king as the pers onif icat ion of the PLO.
                                                                  itic al bran che s'
               Any con trar y con clus ion wou ld rend er the pol
                                                            nati ona l sov erei gnty
          plen ary and nece ssar y auth orit y to pres erve
                                                               as this one, whic h
          larg ely chim eric al. Also , a pro hibi tion such
                                                            of ano ther but does
          exte nds only to conv eyin g idea s in the name
                                                            ttal of thos e idea s,
          not othe rwis e in any way impe de the tran smi
                                                              ent righ ts of the
          does no disc erni ble harm to the Firs t Amendm
          spea ker.
                                                                        taki ng any
                  If the pol itic al bran ches wer.e fore clos ed from
                                                                  uct~ d its
          acti   on aga inst a fore ign ent ity beca use it cond
                                                              r ego dom esti c
          ope rati ons thro ugt\ Ame rican citi zen s or alte
                                                            wou ld be una ble to
          org aniz atio ns, then the Fed eral Gov ernm ent
                                                              bar a fore ign
          exe rcis e its clea r auth orit y to regu late or
          pres ence from the Uni ted St~ tes.
                                                                 seve red
                 For exam ple, if the Fed eral Gov ernro e~t has
                                                    nati‫כ‬n and exp elle d its
         ~ dipl oma tic rela tion s with a fore ign
                                                              tinu e its ope rati ons
           dipl oma ts, then tha t gover‫ח‬ment cou ld not con
                                                             out as the nati on's
           by havi ng Am~ rican citi zen s hold them selv es
           *em bass y.R  As th~ supr eme Cou rt exp lain ed, "(m ]ean s for
                                                                n -- whe ther in the ·
           cffe ctiv e resi stan ce aga inst fore ign incu rsio
                                                 36



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‫ז‬
                                                         -- --- ---
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                                                                     nica l s~ns e, as
             form f‫ס ס‬rganizations ~hic h func tion , in s‫ס‬me tech
                                                                  orga niza tion s
             'age nts' of a forc lgn pcwe r, or in the form of
                                                                  fore ign
             whic h, by com plete dedi cati on and obed ienc e to
                                                                  a fore ign powe r --
             dire ctiv es, make them selv es the instr ume nts of
                                                                 • Co‫ז‬nmunist Part y.
             may not be deni ed to the nati. onal legi slat ure.
                                                                   Cou rt in that
             367 u.s. at 96 (foo tnot e omi tted ). Ir.de ed, the
                                                                      tion al bar to
             case went ‫ס‬s far as to say that to find a con stitu
                                                                    ign- dom inate d
             regi stra tion and disc losu re requ irem ents of fore
                                                                     ndment and the
             grou ps woul d "mak e a trav esty of_ (the Firs t] A‫נ‬ne
                                                                  that it serv es.•
             grea t ends for the well -bei ng of our demo cracy
             I.g. at 89.
                                                                          Exe cuti ve's
                    Mor eove r, it is cruc ial to reco gniz e that the
                                                                       mpli sh the
              acti on went no furt her than was nece ssar y to acco
                                                                    e Depa rtme nt acte d
              legi ti.ma te fore ign poli cy obje ctiv e. The Stat
                                                                        try; its orde r
              here to deny only the PLO a pres ence in this coun
                                                                     ‫ס‬t say anyt hing be
              has no effe ct on the righ t of plai ntif f Rahman
                                                                     wish es to open an
              choo ses in supp ort of the PLO. And, if Rahman
                                                                    of the poli cies and
              offi ce for the purp ose of expr essi ng appr oval
                                                                        as it is t‫חס‬
              acti ons f‫ ס‬the PLO, he is free to do so, as long
                                                                    22
              done in a for‫ז‬n owned or contr‫ס‬lled by the PL0.
                                                                            coul d
                     It is diff icul t to dfsc ern how this rest rict ion
                                                                       ss of the
               sign ific antl y affe ct the cont ent or pers uasi vene
                                                                     ble in some
               spea ker' s mess age. To be sure , it is conc eiva
                                                                        ign enti ty woul d
               circ wns tanc es that spea king in the name of a fore
\   .          enha nce the visi bili ty and audi ence of the agen
                                                                      t. But this is
!                                                                      beca use, by
               not an adva ntag e prot ecte d by the Con stitu tion ,

                                                                             31-3 2) that
                    22 Acco rdin gly, plai ntif fs' imp licat ion (Br.is atsimp ly wron g.
               Rahman has been barr ed from acti ng coll ecti   vely
                                                    37
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1
~
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                                                                                              . -·

                                                                      an enti ty
              deii nitic n, it is Ohe deriv ed from the exist ~nce of
                                                                      peop le are
              with out Firs t Amendment righ ts. If the r~aso n more
                                                                           of a
              liste ning is beca use the agen t is spea king ‫ח‬i the name
                                                                         on agai nst
              forei gn prin cipa l, then it follo ws that the proh ibiti
              the agen cy relat ions hip does no~ impe de the aqen t's
                                                                       abil ity to
                                                                        cts
              cont ribu te to the mark etpla ce of idea s; it only affe
                                                                       put, the
              nega tivel y his mast er's unpr otect ed voic e. Simp ly
                                                                        claim the
              citiz en-a gent cann ot have it both ways . He may not
                                                                          s of a
              righ t to enha nce his speec h by stepp ing into the shoe
                                                                         disa bilit ies
              forei gn enti ty with out acc~ pting the cons titut iona l
              that flow from this forei gn statu s.
                                                                             PLO,
                   Beca use Rahman -is free to e‫ץ‬.press view s favo ring the
                                                                           a wide r
              and to found an orga niza tion to do so in orde r to reach
                                                                          Gove rnme nt
               audi ence , ther e is thus no cred ible argum ent that the
                                                                          t domg stic
               has acted l1ere to si‫נ‬.ence his poin t of view or to limi
               deba te. 23 The only thing the Gove rnme nt has curb ed is the PLO
                                                                         the same
               itse lf; all citiz ens retai n thei r righ ts to espo use
                                                                         ther to do
               view s as the PLO if they wish , and even to band toge
               s ‫ס‬.
                                                                                 on
                    It is impo rtant to emph asize that this sort of rest ricti
                                                                        efs or view s
               is not prem ised on the cont ent of the poli tica l beli
1                                                                           hip with a
1              esr•Q used by the spea ker, but on the spea ker's re‫ב‬.~tions
1
1   •


1                    23 For this reaso n, this case does not invo lve the
1              prin ciple , cited by plai ntiff s (Br. dt 35), ed that our soci ety is
               stron g enou gh that its citiz ens can be trust       to deter mine for
               the‫ז‬:‫י‬selves whic h view s to reje ct.
                                                        As we have repe ated ly
1              emph asize d, plai ntif. fs' view s can stil l be heard and cons idere d,
               and acce pted or rejec ted by the Amer ican te, ic
                                                               publ   as appr opri ate.
               The Exec utive has not acted to stifl     e  daba    but  inste ad to make
                                                     cont inue to supp ort terro rism    ··
               clea r to the PLO that it cann ot
               whil e main taini ng ‫ת‬a offic e in Wash ingto n, D.C.
                                                    38
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                                                                                                                                                                                                           '':~ ·-;~·.~ ,j,..   '-~"' ‫ו‬--:::
                         ~ ~,."':..‫ג‬. '"~··.,‫ג‬.;=~ifi'!:),A;·1.~~~~·‫···&ד‬M,.. . ,{:‫~'יי‬1.:'f~ ‫ייר‬. .... ,a.,:‫יי‬,, .. 1-:... a:½:‫ד‬....4i~--~·~‫~נ·~נ‬t.'•.:,,~~';"‫נ‬1~'~;•€•~:.:‫ו‬.;~ ~~~··· .'‫"ג‬-‫\!י‬.~(-‫½דו‬:·‫ז‬
          ,: ~~•.i ...
                                                                                                                                                          . ''••                     ,.                                                  ‫נ‬:~




      foreign entity .                                        The Suprem e Court has recogn ized and attache d
     siqnifi cance to this distinc tion in analog ous contex ts. For
     exampl e, in the Com‫ז‬nunist Party case, the court empha tically
     rejecte d the asserti on that it was permit tinq the imposi tion of
     burden s agains t ~any group which pursue s unpopu lar politic al
      object ives or which expres ses an unpopu lar politic al ideoloq y.R
      367 u.s. at 104.                                          As the court put it:
                                   Nothin g which we decide here remote ly carrie s
                                   such ‫ח‬d implic ation. The Subver sive
                                   ‫ג‬ctivities Contro l Act applie s only to
                                   foreign-dominated organi zation s whichofwork
                                                                              a
                                   primar ily to advanc e the object ives
                                   world movement cor‫ג‬trolled by the qovern ment
                                   of a foreiqn countr y * * *• It applie s only
                                   to organi zation s directe d, domina ted, or
                                   contro lled by a partic ular foreiqn countr y.                                                                     I

      Thi.g.         (empha sis in origin al).
               Simila rly, the Suprem e Court upheld rsstric tions on travel
      by Americ an citizen s to CUba.                                                                       ‫ח‬I ‫ם‬oth                   cases, the court

      dlsting uished prior cases invalid ating intern ationa l travel
      restric tions on Communist Party members on the qround that the
      Com.munist Party restric tions were based on politic al belief and
      affilia tlon, while the restric tion on travel to CUba was based on
      the curren t policy of the United States toward Cuba's govern ment.
      Zemel, 381 u.s. at 13; ~ , 468 u.s. at 241. Compare ~ v.
      ‫מ‬ulles,                  357 u.s. 116 (1958); Aptheker v.                                                                               secreta;cv of state, 378
      u.s. 500 (1964) .                                             In short, the fact that ideolo qical differe nces
       often motiva te the politic al branch es to take advers e action
       agains t a foreign politic al entity does not mean that
       restric tions on U‫ת‬ited States citi~en s vis-a- vis that entity ~re
       "conte nt-base d" for First Amendment purpos es.


                                                                                                               39




                                              '"‫י‬   -‫ד‬   ,,   .-- ..,
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               ‫ח‬I addit ion, plain tiffs ' asser tion (Br. at 6, 28, 41 n.21)
                                                                           ities
          that the PIO acted no diffe rentl y from norma l lobby ing activ
                                                                          adl~g .
          carri ed out on beha lf of forei gn coun tries is highl y misle
          Lobb yists norm ally are part of law firms or publi c relat ions
                                                                       entit y:
          group s that are t‫ חס‬owned or contr olled by a lone forei gn
•                                                                      sole
          nor do they condu ct their activ ities for the bene fit of a
          forei gn entit y.    Thus, lobby ists dc not attem pt to opera te a
          missi on for a forei gn entit y.     Affin‫נ‬ance    of the State
                                                                                    ities
          Depa rtmen t's actio n here would have no impac t on the activ
          of lobby ists.
                Accordi‫ח‬gly,  both this Cour t, in denyi ng the injun ction
                                                                          that
          pendi ng appea l, and the distr ict court corre ctly concl uded
          plain tiffs ' First Amendment right s have been prese rved. App.
          110-1 1. 24
                Bo      Even If First ‫\ג‬JnG‫ם‬dl‫ ם‬nt Riqh ts Ar Impl icate d,
                        Th5y ArQ OvQroome By Tho Valid Forei qn Polio y
                        Actions Qf Tbo Bxocutive Ker9,
                1.   As the Supre me Court has made clear in any event , even
                                                                                of
           if a gover nmen tal regulati‫ס‬n restr icts an indiv idual 's freedo m
                                                                          lation s
           speec h, that regul ation is not nece ssari ly inval id. Regu
           relat ing to forei gn polic y inter ests, for exam ple, have been
           upl1el d over claim s of First A‫נ‬nendment infrin ge1ne nt.        See, §.g.,

                 24 Plain tiffs ' conte ntion (Br. at 10, 45-46 ) that disco very
           is neede d, or that there are factu al dispu tes on this           point are
           puzzl ing. Plain tiffs ' spccu lj\tio n that the State sensetment
                                                                         Depar
                                                                                  since
           wishe d to silen ce their polit ical messa ge makestiffs   no
                                                                            are  free  to
           the State Depa rtmen t has emph asized that plain form of a missi on
           zpeak as they wish, as long as it is not          in  the
           of the PLO. Furth ermo re, the State Depa rtmen tg has         fully
           expla ined its forei gn polic y purpo    se  for  takin    actio  n again st
                                                       not  attem pted   to  a:~cac k the
           the PLO. App. 17. Plain tiffs have                         ict   c~urt
           reaso nable ness of this motiv   ~tion ,  and   the  distr
           corre ctly r.ecog nized that it is not a aubje ct tor judic ial
           revie w. App. 105.
                                                 40




                                              ------ -=:-:- ~e--~ ---..., -,,,--= ~~-,. ,-,-..~ =~
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                        ‫" ד‬      ‫י‬-=rt‫יי‬:‫נייי‬




     lis!ig v. /‫§ש‬.§., 453 u.s. at 300-09 (passp ort revoke d beci'!UE;e speech
     activ ities abroad likely to damaq e foreiq n policy of the Uni~~d
     state s): Finzer v. Barry. 798 F.2d 1450 (D.c. Cir. 1986) , ~ .
     grante d. 107 s.ct. 1282 (1987) (upho lding ‫מ‬.c. statu te limiti ng
     prote sts and demon st~atio ns in front of foreig n ~mbas sies here).
          Indeed , in Mandel. 408 u.s. 753, the su~~em e Court held that
     First Amendment cases are no excep tion to the doctr ine of
     judic ial defere nce to govern ment decisi ons poten tially affect ing
     the Gover nment '~ foreig n policy intere sts. In Mandel, tha
     plain tiffs had claime d infrin gemen t of their First Ame‫ח‬dment
     rights due to the Attorn ey Gener al's refud al to grant a tempo rary
     non-i‫ש‬nigrant  visa to a Belgia n Marxi st whom pl~in tiffs had
     invite d to this count ry. The Suprem ~ Co‫גו‬rt acknow ledged that the
     Attorn ey Gener al's action implic ated First Amendment conce rns
     (ig. at 765), but held that, when the Govern ment statee a
     "faci ally legiti mate and bona fidea reascn for a decisi on made
     pursu ant to the plena ry power of the Govern ment over exclu sion of
     aliens , •cour ts will neith er look behind the exerc ise of that
     discre tion, nor test it by balanc ing its justif icatio n again st
     the First Amendment intere sts of those who se‫ס‬k perso nal
     cowm unicat ion with the applic ant."           I.g. at 769-70 .

           The ident ical princ iple should b~ applie d here. Plain tiffs
      argue that their First .\mend ment rights allow them to overri de
      the Execu tive's plena ry power to regula te the a,::tiv ities o‫;י‬:
      foreig n missio ns in this count ry. As in Mande l, the Execu tive
      has stated a facia lly legiti mate and 12.Qng ~ reason for its
      action .


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                                                                                                                                                                                                                                       •,1




                                 Thus, even if this Court reads the State Departm ent's order
                            as affectin g plainti ffs' associa tional rights, the closure order
                            is permiss ible becauGe it furthers a ~ ~ foreign policy
                            objectiv e, and does rtot materia lly affect the potenti al for
                            debate ,..,n any issues that plainti ffs wish to discuss publicly or
                            private ly.                               see also Jlnited States v.                                                      Harriss, 347 u.s. 612, 626
                             (1954)                   (legitim ate governm ental interes ts overcom e First
                            Amendment attack on Federal Regulat ion of Lobbying Act even if
                            some deterre nt effect ‫ סח‬speech is assumed ): Buckley v. Valeo,
                             424 u.s. 1,                               29-‫סנ‬                     (1976)             (limits ‫ סח‬politica l campaig n
                            contribu tions outw~igh associa tional interes ts even if only to
                            preseL-v e the appearan ce of the integrit y of the elector al
                             system) .
                                               2.               The State Departm ent's action is valid even if the
                             Court uses a test for governm ental measure s that affec.t First
                             Amendment rights outside the context of foreign relation s.
                                               In Y.r‫ו‬ited States v. Q'Br;um, 391 u.s. 367, 377 (1968), the
                             supreme Court stated the followin g test to determi‫ת‬e the
                             constitu tionalit y of governm ent regulati ons that ‫י‬incidentally•
                             burden speech:
                                                                 a governm ent regulati on is sufficie ntly
                                                                 justifie d if it is within the constitu tional
                                                                 power of the Governm ent: if it furthers an
                                                                 importa nt r‫ ס‬substan tial governm ental
                                                                 intere~ t: if the governm ental interes t is
                                                                 unrelate d to the suppres sion of free
                                                                 expressi on: and if the inciden tal restrict ion
                                                                 ‫~ סח‬lleged Fir&t A‫נ‬nendment freedoms is no
                                                                 greater than is essentia l to the furthera nce
                                                                 of thut interest .(25]


                                   25 The Supreme court has apparen tly also added the criterio n
                               of whether there are alternat ive means of commun ication
                                                                                 ( conti‫ת‬ued ••• )
                                                                                                                                      42



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           AG our prior discussion demonstra tes, all of these factors
      have been met in this case.         First, plaintiff s do not attempt to
      dispute that it is within the constitut ional power of ~he
      political branches of our Governmen t to bar operation of a
      mission of a foreign entity.         S~cond, closing the PLO mission

      here further       ‫ ג‬substantia‫נ‬.   foreign policy interest of
      reinforcin g our opposition t~ PLO-suppo rted terrorism .         Third,

      the State Departmen t action is unrelated to suppressio n of free
      expressio n since Rahman and others are left open to advocate the
      views held by the PLO; the purpose of the Executive action, as
      explained by the State Departmen t (App. 17) is to discourag e
      terrorism .     Fourth, in leaving Rahman free to advocate, the
      Governmen t has taken the most limited means possible of shutting
      down the PLO mission while minimally affecting First Amendment
      freedoms. 26
            Finally, in assessing the available alternativ e means of
      communic ation, it is important to note what the restrictio n on a
      relations hip with a foreign political entity does nQt do.            ‫ח‬I   the

      case of the closure at issue, it does not prevent anyone in the
      United States from engaging in independe nt advocacy of the
      Palestinia n cause, raising money from the public, or using
      personal funds in any amount for this purpose.


              25 ( ••• continued )
      available .     see City of Renton v.        Playtime Theatres, 475 u.s. 41,
      53-54    (1986).

           26 We note that the O'Brien standards have been used in
      upholding restrictio ns ‫ סח‬the importatio n of publicatio ns from
      foreign countries under the Trading with the Enemy Act. See,
      ~.g., Teague v. Regional commissioner of CUst2nui, 404 F.2d 441,
      445 (2d ~ir. 1968), QeXt. denied, 394 u.s. 977 (1969).
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                  ‫ס‬T   summarize, the State Department order to the PIO to cease
            operations does not burden plaintiffs'         i‫ח‬dividual   rights to free
            speech and association; it prohibits only their practice of
            acting as a mission for the ~:..‫ס‬.        Nevertheless, even if the
            closure order is read to implicate plaintiffs' ability to
            distribute information or associate without restriction, it is
            justified as an incidental effect of the Government's power to
            preclude foreign en~roachments and conduct foreign policy.
                  III. PLAINTIFFS' DUE PROCESS RIGHTS WERE NOT
                       INFRINGED.

                 A.      A Heari‫ם‬g Kere woul4 Kave served No Purpose,
                         A‫ם‬d Was Thus Not Required ‫ס‬nder The Due Process
                         c1ause.
                  Foreign entities such as the PLO obviously do not have due
            process rights since they are not part of our constitutional
            scheme.    See supra,. at 31.    Cf. South Carolina v. Katzenbach, 383
            u.s. 301, 323-24 (1966)      (states are not covered by the Due
            Process Clause).       Plaintiffs nevertheless contend (Br. at 42-44)
            that they were entitled to a hearing before the PIO was
            designated as a mission of the PLO.          ThiB contention is
            incorrect.
                 The Supreme Court has applied the common sense n~tion that
            an individual is ordinarily entitled ‫ס‬t a hearing if there is a
            purpose to be served by such a hearing.          See ~ v.     Velqer, 429
            u.s. ·624 (1977).      There, a police officer sought a hearing to.,
            contest his dismissal and to a‫ח‬swer a stigmatizing part of his
            record, but he did not dispute the critical fact that he had
            attempted suicide, which was the reason given for his dismissal.



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           The case at bar is nea~ly identical.        Plaintiffs seek a
      hearing; yet, their own papars reveal ample facts to support the
     State Department's conclusion under the Foreign Missions Act that
     the PIO operated as a mission of the PLO.         Thus, plaintiffs do
     not contest the facts that justify the agency's finding and
     designation.
           As in ~ v.      Velger, no hearing was necessary here since
     the key facts, rather than the legal or foreign policy
     conclusions to be drawn from them, are not disputed.           Plaintiffs
     merely wished to argue that a different legal conclusion should
     be drawn from those uncontroverted facts. 27        But the Due Process
     Clause does not mandate a hearing for that purpose.
           B.    Si‫ם‬oe Plaintiffs' Co‫ם‬duct P 11 Withi‫ ם‬The
                 Heart Of The Co‫ם‬duct Covered By The Foreig‫ם‬
                 Xissio‫ם‬s Act, They Ca‫םם‬ot Attack The statute
                 As ‫ס‬noo‫ם‬stitutionally Vague.
           Plaintiffs argue (Br. at 39-42) that the Foreign Missions
     Act is unconstitutionally vague as applied by the district court.
     They base their claim ‫ סח‬the district court's decision not to
      reach the *substantial ownership or effective control‫ י‬issue
     because of its findi~g that the PIO was covered by the Act i‫ז‬l
      light of its "other activities,:r on behalf of the PLO . . App. 1oe..



            27 Plaintiffs have given no indication that they wish ·:.o
       show that Rahman disregarded orders or directions from thei J?LO,
     · or otherwise took actions that would demonstrate indepe‫ח‬dE‫זב‬ace
       despite tl1e outward compelling signs of PLO substantial ownership
       or effective control. We note that Rahman submitted a somewhat
       lengthy declaration in the district court (App. 22-28), but
       provided no details or specifics regarding his dealings with the
       PLO leadership over the past several years. In light of the
       apparent absence of any desire by Rahman to reveal more to the
       Government than is already shown by the public papers in this
       case, the call for a hearing rings rather hollow.
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          However, the StAte Department ordered the closing of the PIO
     because it was substantiall y owned or effectively controlled by
     the PLO (App. 16-17), and, as this brief shows, we ara defending
    the Executive's action ‫ סח‬ths grounds stated ~y the ~tate
    Department.    Consequently , if the Court accepts our arqument that
    the PIO was validly found to be a mission of the PLO, because of
    its substantial ownership or effective control, this vaqueness
    allegation disappears.
          If the vaqueness argument nonetheless survives, it is
    unavailing in any event.      If the PIO is substantiall y owned or
    effectively controlled by ~he PLO, as we contend, it is not
    affected by any alleged vagueness in the statute.          Therefore, the
    court should not consider plaintiffs' vaqueness claim, which is
    in essence raised on behalf of some other hypothetical litigant.
    See ~ q v. ~ , 453 u.s. at 309 n. 61 (•since Agee's conduct
    falls within the core of the regul~tion, he lacks standing to
    contend that the regulation is vague and overbroad•);           You‫ח‬q   v.
    werican Mini Theatres, 427 u.s. 50, 58-59 (1976); Parker v .
    .I&.YY, 417 u.s. 733, 755 (1974); Harriss, 347 u.s. at 618.
          Even if the vagueness doctrine were held to apply to this
    case, it would not affect the validity of the Secretary's order
    because the doctrine does not require impossible standards of
    specificity.    see United States v.     Petrillo, 332 u.s. 1, 7
    (1947).   The purpose of the ‫ס‬void for vagueness• doctrine is to
    assure that individuals have adequate notice of the conduct that
    will bring them within the reach of a statutory provision or
    regulation.    See BoutiliH v . .IHS., 387 u.s. 118, 124 (1967).


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           The degree of vagueness that the Constitut ion tolerates
     depends in part upon the nature of the enactment .         Thus, economic
     regulation s and statut~s with civil rather t‫ז‬.an criminal
     penalties are subject to a more lenient test.         See, ~ .     H2..f.t‫ג‬nan

     Estates v. The Flipside, Hoffman Estates, Inc., 455 u.s. 489,
     498-99, (1982).     As discussed already (at 19), the need for
     flexibili ty in regulation s affecting foreign policy interests is
     even more compellin g.     see Zemel, 381 u.s. at 17; Curtiss-W right,
     299 u.s. at 321-22.      Thus, to prevail on a vagueness claim here,
     plaintiff s must present an especiall y strong case, which they
     have failed to do.
           Applying these, or even the strictest standards , the Foreign
     Missions Act provides sufficien t _guidance to enable a reasonabl e
     person to avoid operating a foreign mission.         As we have already
     ‫ק‬ointed   out (at 40), the nature of the operation of the PIO
     stands in marked contrast to that of a law or public relations
     firm doing lobbying work ‫ סח‬behalf of foreign entities.           There is
     thus very little danger of lobbyists becoming concerned about
     their ability to operate in light of the Secretary 's applicatio n
     of the Foreign Missions Act to the Pi‫ס‬. 28




         28 Plaintiff s incorrect ly stato (Br. at 39) that the
    Governmen t itself does not know the bounds of the Act. This
    claim is apparently based ‫ סח‬the fact that the State Departmen t
    has not told plaintiff s precisely how they may reorganiz e in
    order to operate. The State Departmen t has informed plaintiff s
    that they are free to operate as long as they are not
    substanti ally owned or effective ly controlled by the PLO; there
    is no obligatio n of which we are aware that the Governmen t give
    more detailed advice ‫ סח‬how to avoid coming within the terms of a
    statute.
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                                       CONCLUSION
                                                       nt of the dis tric t
           For the fore goi ng rea son s, the jud gme
     cou rt sho uld be affi rme d.
                                        Res pec tful ly sub mit ted ,

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                                                                                                               CBRTIPICATB 0~ SERVICB

                                                  I hereb y certi fy that ‫ סח‬this 22nd day of Janua ry, 1988, I
                                serve d the foreg oing Brief for the Appe llees by causi ng two
                                copie s to be hand deliv ered to:
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